Case 1:21-cr-00399-RDM Document 54-2 Filed 08/29/22 Page 1 of 14




         Exhibit 2
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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                        March 3, 2022
VIA EMAIL/USAfx
Sabrina P. Shroff, Esq.
Assistant Federal Defender
Office of the Federal Public Defender for the District of Columbia
625 Indiana Avenue, NW Suite 550
Washington, DC 20004

       Re:      United States v. Roman Sterlingov
                Case No. 1:21-cr-00399 (RDM)

Dear Counsel:

        This letter memorializes the March 3, 2022 formal production of discovery in the above-
referenced case. Materials have been uploaded to the USA File Exchange system, as detailed in
the attached Production Index.

       These materials are being produced subject to the Protective Order entered in this case on
September 17, 2021, see ECF No. 18. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

         I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental
examinations, or scientific tests or experiments, and any expert witness summaries. I also
request that defendant(s) disclose prior statements of any witnesses defendant(s) intends to call
to testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255
(1975).
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        I request that such material be provided on the same basis upon which the government
will provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,



                                                     CHRISTOPHER B. BROWN
                                                     Assistant United States Attorney

                                                     C. ALDEN PELKER
                                                     Trial Attorney


Enclosures (USAfx)




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                                                                                         Case 1:21-cr-00399-RDM Document 54-2 Filed 08/29/22 Page 4 of 14




US v. Roman Sterlingov - Discovery Index (Production #1)
BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                           Batch                                                 Page Count   Notes
STERLINGOV-0000001   STERLINGOV-0000001     pdf     288A-WF-6797160-CART_0000001.pdf                                                             Excerpts from FBI case file                                 1
STERLINGOV-0000002   STERLINGOV-0000004     pdf     288A-WF-6797160-CART_0000002.pdf                                                             Excerpts from FBI case file                                 3
STERLINGOV-0000005   STERLINGOV-0000059     pdf     CART_1A1_serial 2 main.pdf                                                                   Excerpts from FBI case file                                55
STERLINGOV-0000060   STERLINGOV-0000060     pdf     288A-WF-6797160-GJ_0000001.pdf                                                               Excerpts from FBI case file                                 1
STERLINGOV-0000061   STERLINGOV-0000061     pdf     288A-WF-6797160-GJ_0000002.pdf                                                               Excerpts from FBI case file                                 1
STERLINGOV-0000062   STERLINGOV-0000064     pdf     288A-WF-6797160-GJ_0000002_1A0000001_0000001.pdf                                             Excerpts from FBI case file                                 3
STERLINGOV-0000065   STERLINGOV-0000065     txt     288A-WF-6797160-GJ_0000002_1A0000001_0000002.txt                                             Excerpts from FBI case file                                 1
STERLINGOV-0000066   STERLINGOV-0000066     pdf     Photo1.jpg                                                                                   Photographs of items seized from defendant’s person         1      Converted to pdf
STERLINGOV-0000067   STERLINGOV-0000067     pdf     Photo2.jpg                                                                                   Photographs of items seized from defendant’s person         1      Converted to pdf
STERLINGOV-0000068   STERLINGOV-0000068     pdf     Photo3.jpg                                                                                   Photographs of items seized from defendant’s person         1      Converted to pdf
STERLINGOV-0000069   STERLINGOV-0000069     pdf     Photo4.jpg                                                                                   Photographs of items seized from defendant’s person         1      Converted to pdf
STERLINGOV-0000070   STERLINGOV-0000070     pdf     Photo5.jpg                                                                                   Photographs of items seized from defendant’s person         1      Converted to pdf
STERLINGOV-0000071   STERLINGOV-0000071     pdf     Photo6.jpg                                                                                   Photographs of items seized from defendant’s person         1      Converted to pdf
STERLINGOV-0000072   STERLINGOV-0000072     pdf     Declaration of Custodian of Records.pdf                                                      AIMCO records                                               1
STERLINGOV-0000073   STERLINGOV-0000078     pdf     One Site Screen Shots; Sterlingov; Jaerbur.docx                                              AIMCO records                                               6      Converted to pdf
STERLINGOV-0000079   STERLINGOV-0000080     pdf     ENCRYPTED_IRS_JONES.pdf                                                                      AirBNB records                                              2
STERLINGOV-0000081   STERLINGOV-0000081     pdf     ENCRYPTED_IRS_JONES_ACTIVITY.pdf                                                             AirBNB records                                              1
STERLINGOV-0000082   STERLINGOV-0000083     pdf     ENCRYPTED_IRS_JONES_PAYMENTS.pdf                                                             AirBNB records                                              2
STERLINGOV-0000084   STERLINGOV-0000084    eml      New Recurring Subscription- cus_BGzresPZTGBMFA.eml                                           AllocateSmartly records                                   N/A
STERLINGOV-0000085   STERLINGOV-0000085    eml      New Signup- incoming640294774@gravytrain_top.eml                                             AllocateSmartly records                                   N/A
STERLINGOV-0000086   STERLINGOV-0000086    eml      Payment of $30_00 from Roman Sterlingov 2.eml                                                AllocateSmartly records                                   N/A
STERLINGOV-0000087   STERLINGOV-0000087    eml      Payment of $30_00 from Roman Sterlingov 4.eml                                                AllocateSmartly records                                   N/A
STERLINGOV-0000088   STERLINGOV-0000088    eml      Payment of $30_00 from Roman Sterlingov 6.eml                                                AllocateSmartly records                                   N/A
STERLINGOV-0000089   STERLINGOV-0000089    eml      Payment of $30_00 from Roman Sterlingov 7.eml                                                AllocateSmartly records                                   N/A
STERLINGOV-0000090   STERLINGOV-0000090    eml      Payment of $30_00 from Roman Sterlingov 9.eml                                                AllocateSmartly records                                   N/A
STERLINGOV-0000091   STERLINGOV-0000091    eml      Payment of $30_00 from Roman Sterlingov.eml                                                  AllocateSmartly records                                   N/A
STERLINGOV-0000092   STERLINGOV-0000092    eml      Subscription cus_BGzresPZTGBMFA Was Cancelled.eml                                            AllocateSmartly records                                   N/A
STERLINGOV-0000093   STERLINGOV-0000093    eml      Transaction Failed 1.eml                                                                     AllocateSmartly records                                   N/A
STERLINGOV-0000094   STERLINGOV-0000094    eml      Transaction Failed 2.eml                                                                     AllocateSmartly records                                   N/A
STERLINGOV-0000095   STERLINGOV-0000095    eml      Transaction Failed 3.eml                                                                     AllocateSmartly records                                   N/A
STERLINGOV-0000096   STERLINGOV-0000096    eml      Transaction Failed.eml                                                                       AllocateSmartly records                                   N/A
STERLINGOV-0000097   STERLINGOV-0000097    eml      Payment of $30_00 (from Roman Sterlingov )3.eml                                              AllocateSmartly records                                   N/A
STERLINGOV-0000098   STERLINGOV-0000098    eml      Payment of $30_00 (from Roman Sterlingov) 1.eml                                              AllocateSmartly records                                   N/A
STERLINGOV-0000099   STERLINGOV-0000099    eml      Payment of $30_00 (from Roman Sterlingov) 5.eml                                              AllocateSmartly records                                   N/A
STERLINGOV-0000100   STERLINGOV-0000100    eml      Payment of $30_00 (from Roman Sterlingov).eml                                                AllocateSmartly records                                   N/A
STERLINGOV-0000101   STERLINGOV-0000101    eml      Payment of $30_00 from Roman Sterlingov 8.eml                                                AllocateSmartly records                                   N/A
STERLINGOV-0000102   STERLINGOV-0000102    eml      Payment of $30_00 from Roman Sterlingov.eml                                                  AllocateSmartly records                                   N/A
STERLINGOV-0000103   STERLINGOV-0000103     pdf     Declaration of Custodian of Records.pdf                                                      AllocateSmartly records                                     1
STERLINGOV-0000104   STERLINGOV-0000106     pdf     stripe logs.pdf                                                                              AllocateSmartly records                                     3
STERLINGOV-0000107   STERLINGOV-0000107     pdf     Subpeona Response.docx                                                                       AllocateSmartly records                                     1      Converted to pdf
STERLINGOV-0000108   STERLINGOV-0000108     csv     members-1621899466.csv                                                                       AllocateSmartly records                                   N/A
STERLINGOV-0000109   STERLINGOV-0000109     csv     stripeData.Sterlingov.csv                                                                    AllocateSmartly records                                   N/A
STERLINGOV-0000110   STERLINGOV-0000110     csv     user_profile.csv                                                                             AllocateSmartly records                                   N/A
STERLINGOV-0000111   STERLINGOV-0000111    xlsx     489810 - US DIST COURT DC AUSA ZIA FARUQUI 13MAR2017.xlsx                                    ARC records                                               N/A
STERLINGOV-0000112   STERLINGOV-0000117     pdf     Billing Statement_Redacted.pdf                                                               Atlantic Broadband records                                  6
STERLINGOV-0000118   STERLINGOV-0000118     pdf     Certification.pdf                                                                            Atlantic Broadband records                                  1
STERLINGOV-0000119   STERLINGOV-0000122     pdf     Memo Style.pdf                                                                               Atlantic Broadband records                                  4
STERLINGOV-0000123   STERLINGOV-0000124     pdf     Subpoena Response-AtlanticBB-Email-09192017.pdf                                              Atlantic Broadband records                                  2
STERLINGOV-0000125   STERLINGOV-0000125    msg      FW Subpoena - 1800 Collins Ave #14 Miami Beach FL.msg                                        Atlantic Broadband records                                N/A
STERLINGOV-0000126   STERLINGOV-0000135     pdf     Bitcoin Talk Response, 4.20.18.pdf                                                           Bitcoin Talk records                                       10
STERLINGOV-0000136   STERLINGOV-0000148     pdf     Bitcoin Talk Subpoena, 2.20.18.pdf                                                           Bitcoin Talk records                                       13
STERLINGOV-0000149   STERLINGOV-0000149    xlsx     Bitcoin Talk Response, 4.20.18.xlsx                                                          Bitcoin Talk records                                      N/A
STERLINGOV-0000150   STERLINGOV-0000154     pdf     Please_DocuSign_GJSP_BitPay_1-20-16_GJ201601 copy.pdf                                        Bitpay records                                              5
STERLINGOV-0000155   STERLINGOV-0000155     pdf     SubpoenaresponseBitPay-GrandJurySubpoenaGJ2016012030700.pdf                                  Bitpay records                                              1
STERLINGOV-0000156   STERLINGOV-0000156    xlsx     Attachment-Bitpay-01202016.xlsx                                                              Bitpay records                                            N/A
STERLINGOV-0000157   STERLINGOV-0000163     pdf     2015R02056.pdf                                                                               Bitpay records                                              7
STERLINGOV-0000164   STERLINGOV-0000167     pdf     BitPay Response Request Combination Feb 2018.pdf                                             Bitpay records                                              4
STERLINGOV-0000168   STERLINGOV-0000174     pdf     Please_DocuSign_Bitcoin_Fog_2015R02056_BitPa.pdf                                             Bitpay records                                              7
STERLINGOV-0000175   STERLINGOV-0000175     pdf     Subpoena response BitPay - 20180216-USD District of Columbia-2015R02056.pdf                  Bitpay records                                              1
STERLINGOV-0000176   STERLINGOV-0000176    xlsx     20180216-USD District of Columbia-2015R02056.xlsx                                            Bitpay records                                            N/A
STERLINGOV-0000177   STERLINGOV-0000178     pdf     Email Response 02192018.pdf                                                                  Bitpay records                                              2
STERLINGOV-0000179   STERLINGOV-0000179    xlsx     20180216-USD District of Columbia-2015R02056.xlsx                                            Bitpay records                                            N/A
STERLINGOV-0000180   STERLINGOV-0000181     pdf     Bitpay Response 03272017.pdf                                                                 Bitpay records                                              2
STERLINGOV-0000182   STERLINGOV-0000182     pdf     Bitpay Response 03272017-2.pdf                                                               Bitpay records                                              1
STERLINGOV-0000183   STERLINGOV-0000186     pdf     Bitpay Response Followup 03272017.pdf                                                        Bitpay records                                              4
STERLINGOV-0000187   STERLINGOV-0000187     pdf     Bitpay Response Followup 04042017.pdf                                                        Bitpay records                                              1
STERLINGOV-0000188   STERLINGOV-0000188     pdf     SubpoenaresponseBitPay-20170221-DCofDCGJ2017021737536.pdf                                    Bitpay records                                              1
STERLINGOV-0000189   STERLINGOV-0000189     xls     Attachment A# GJ2017021737536.xls                                                            Bitpay records                                            N/A
STERLINGOV-0000190   STERLINGOV-0000190     xls     Attachment A#USAO2015R02056.xls                                                              Bitpay records                                            N/A
STERLINGOV-0000191   STERLINGOV-0000191     xls     New TX.xls                                                                                   Bitpay records                                            N/A
STERLINGOV-0000192   STERLINGOV-0000192     csv     April 2017 TXIDs Sterlingov Account.csv                                                      Bitpay records                                            N/A
STERLINGOV-0000193   STERLINGOV-0000193     pdf     SubpoenaresponseBitPay-GJS2015R02056.pdf                                                     Bitpay records                                              1
STERLINGOV-0000194   STERLINGOV-0000194    xlsx     Attachment A - GJS #2015R02056.xlsx                                                          Bitpay records                                            N/A
STERLINGOV-0000195   STERLINGOV-0000195     pdf     20130813-Correspondence .pdf                                                                 Bitpay records                                              1
STERLINGOV-0000196   STERLINGOV-0000196     pdf     Declaration #GJ2021052477494 .pdf                                                            Bitpay records                                              1
STERLINGOV-0000197   STERLINGOV-0000197     pdf     Re_ Grand Jury Subpoena #GJ2021052477494.pdf                                                 Bitpay records                                              1
STERLINGOV-0000198   STERLINGOV-0000200     pdf     Subpoena response BitPay - 20210604-2021052477494-2015R02056-USDOJ.docx.pdf                  Bitpay records                                              3
STERLINGOV-0000201   STERLINGOV-0000201    xlsx     Attachment A-20210604-2021052477494-2015R02056-USDOJ.xlsx                                    Bitpay records                                            N/A
STERLINGOV-0000202   STERLINGOV-0000207     pdf     Please_DocuSign_GJSP_BitPay_8-30-17_(1).pdf                                                  Bitpay records                                              6
STERLINGOV-0000208   STERLINGOV-0000208     pdf     Subpoena response BitPay -20170828- USDC District of Columbia- USAO 2015R02056.pdf           Bitpay records                                              1
STERLINGOV-0000209   STERLINGOV-0000209     xls     Attachment- USAO #2015R02056.xls                                                             Bitpay records                                            N/A
STERLINGOV-0000210   STERLINGOV-0000216     pdf     2019.10.04_BitPay GJ Subpoena GJ2019100458869 SIGNED-signed.pdf                              Bitpay records                                              7
STERLINGOV-0000217   STERLINGOV-0000217    xlsx     Attachment A - 20191021 - IRS - Washington D.C - 2015R02056.xlsx                             Bitpay records                                            N/A
STERLINGOV-0000218   STERLINGOV-0000220     pdf     Subpoena response BitPay - 20191021 - IRS - Washington D.C - 2015R02056.docx                 Bitpay records                                              3      Converted to pdf
STERLINGOV-0000221   STERLINGOV-0000221    htm      Untitled attachment 00081.htm                                                                Bitpay records                                            N/A
STERLINGOV-0000222   STERLINGOV-0000224     pdf     Subpoena response BitPay - 20181114-District of Columbia-GJ2018111351695....pdf              Bitpay records                                              3
STERLINGOV-0000225   STERLINGOV-0000225    xlsx     20181114-District of Columbia-GJ2018111351695.xlsx                                           Bitpay records                                            N/A
STERLINGOV-0000226   STERLINGOV-0000238     pdf     Roman Sterlingov profile.pdf                                                                 Bitstamp records                                           13
                                                                                                                                                                                                                    Converted to pdf;
                                                                                                                                                                                                                    renamed to "Roman
                                                                                                                                                                                                                    Sterlingov profile
STERLINGOV-0000239   STERLINGOV-0000251      pdf    Roman Sterlingov profile.docx                                                                Bitstamp records                                          13       (2).pdf"
STERLINGOV-0000252   STERLINGOV-0000252      pdf    Capture.PNG                                                                                  Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000253   STERLINGOV-0000253      pdf    mtgox screenshot.PNG                                                                         Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000254   STERLINGOV-0000254      pdf    passport-front-s.jpg                                                                         Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000255   STERLINGOV-0000255      pdf    scan_id_unedited.jpg                                                                         Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000256   STERLINGOV-0000256      pdf    scan_utility.jpg                                                                             Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000257   STERLINGOV-0000257      csv    Transactions 71852443932.csv                                                                 Bitstamp records                                          N/A
STERLINGOV-0000258   STERLINGOV-0000258      txt    account_52443_history.txt                                                                    Bitstamp records                                          N/A
STERLINGOV-0000259   STERLINGOV-0000265      pdf    Account_71852443932_History.pdf                                                              Bitstamp records                                           7
STERLINGOV-0000266   STERLINGOV-0000284      pdf    Account_71852443932_Report.pdf                                                               Bitstamp records                                          19
                                                                                                                                                                                                                    Converted to pdf;
                                                                                                                                                                                                                    renamed to
                                                                                                                                                                                                                    "Account_7185244393
STERLINGOV-0000285   STERLINGOV-0000303     pdf     Account_71852443932_Report.docx                                                              Bitstamp records                                          19       2_Report (2).pdf"
STERLINGOV-0000304   STERLINGOV-0000322     pdf     Account_71852443932_Report-Beckett Working Copy.pdf                                          Bitstamp records                                          19
STERLINGOV-0000323   STERLINGOV-0000323     pdf     Chainalysis-Bitstamp-RS-1LGe.pdf                                                             Bitstamp records                                           1
STERLINGOV-0000324   STERLINGOV-0000324     pdf     Chainalysis-Bitstamp-RS-14PtjV2x.pdf                                                         Bitstamp records                                           1
STERLINGOV-0000325   STERLINGOV-0000325     pdf     Chainalysis-Bitstamp-RS-14PtjV2x-2.pdf                                                       Bitstamp records                                           1
STERLINGOV-0000326   STERLINGOV-0000326     pdf     Source_71852443932_Addresses.pdf                                                             Bitstamp records                                           1
STERLINGOV-0000327   STERLINGOV-0000338     pdf     Transaction_71852443932_History.pdf                                                          Bitstamp records                                          12
STERLINGOV-0000339   STERLINGOV-0000339     pdf     Mt.Gox e-mail.png                                                                            Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000340   STERLINGOV-0000340     pdf     Mt.Gox Screenshot.png                                                                        Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000341   STERLINGOV-0000341     pdf     Passport.jpg                                                                                 Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000342   STERLINGOV-0000342     pdf     Utility Bill.pdf                                                                             Bitstamp records                                           1       Converted to pdf
STERLINGOV-0000343   STERLINGOV-0000343     xlsx    Account_71852443932_History.xlsx                                                             Bitstamp records                                          N/A
STERLINGOV-0000344   STERLINGOV-0000344     csv     Graph_Bitstamp_net_14PtjV2xT9An94N5U7bsMH7o5Lp4jJaDnQ.csv                                    Bitstamp records                                          N/A
STERLINGOV-0000345   STERLINGOV-0000345     xlsx    Source_71852443932_Addresses.xlsx                                                            Bitstamp records                                          N/A
STERLINGOV-0000346   STERLINGOV-0000346     xlsx    Transaction_71852443932_History.xlsx                                                         Bitstamp records                                          N/A
STERLINGOV-0000347   STERLINGOV-0000347     csv     Wallet Exp RS Bitstamp Acct BTCF.csv                                                         Bitstamp records                                          N/A
                                                                                         Case 1:21-cr-00399-RDM Document 54-2 Filed 08/29/22 Page 5 of 14




BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                           Batch                                                          Page Count   Notes
STERLINGOV-0000348   STERLINGOV-0000348     xlsx    Wallet Exp RS Bitstamp Acct BTCF.xlsx                                                        Bitstamp records                                                    N/A
STERLINGOV-0000349   STERLINGOV-0000349     csv     walletexplorer-1LGeMwALkiyahVcUMGgBVx1LLK5fUWEVmY-1 (Autosaved).csv                          Bitstamp records                                                    N/A
STERLINGOV-0000350   STERLINGOV-0000350     csv     walletexplorer-1LGeMwALkiyahVcUMGgBVx1LLK5fUWEVmY-1.csv                                      Bitstamp records                                                    N/A
STERLINGOV-0000351   STERLINGOV-0000351     .grf    Bitstamp.net 14PtjV2xT9An94N5U7bsMH7o5Lp4jJaDnQ                                              Bitstamp records                                                    N/A
STERLINGOV-0000352   STERLINGOV-0000352     .txt    READ ME.txt                                                                                  Bitstamp records                                                    N/A
STERLINGOV-0000353   STERLINGOV-0000353     pdf     administrationWork.png                                                                       Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000354   STERLINGOV-0000354     pdf     Capture.PNG                                                                                  Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000355   STERLINGOV-0000355     pdf     mtgox screenshot.PNG                                                                         Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000356   STERLINGOV-0000356     pdf     Screenshot_20180310_095308.png                                                               Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000357   STERLINGOV-0000357     pdf     1022-AntonBeckman201701.jpg                                                                  Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000358   STERLINGOV-0000358     pdf     passport-front-s.jpg                                                                         Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000359   STERLINGOV-0000359     pdf     scan_id_unedited.jpg                                                                         Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000360   STERLINGOV-0000360     pdf     scan_utility.jpg                                                                             Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000361   STERLINGOV-0000361      txt    71852443932_account_history.txt                                                              Bitstamp records                                                    N/A
STERLINGOV-0000362   STERLINGOV-0000362      txt    search_results.txt                                                                           Bitstamp records                                                    N/A
STERLINGOV-0000363   STERLINGOV-0000363     xlsx    71852443932_transaction_history.xlsx                                                         Bitstamp records                                                    N/A
STERLINGOV-0000364   STERLINGOV-0000393     pdf     71852443932_account_info.docx                                                                Bitstamp records                                                    30      Converted to pdf
STERLINGOV-0000394   STERLINGOV-0000394     pdf     1022-AntonBeckman201701.jpg                                                                  Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000395   STERLINGOV-0000395     pdf     71852443932_POR.jpg                                                                          Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000396   STERLINGOV-0000396     pdf     passport-front-s.jpg                                                                         Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000397   STERLINGOV-0000397     pdf     71852443932_ID.jpeg                                                                          Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000398   STERLINGOV-0000398     pdf     71852443932_ID_old.jpeg                                                                      Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000399   STERLINGOV-0000399     pdf     administrationWork.png                                                                       Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000400   STERLINGOV-0000400     pdf     Capture.PNG                                                                                  Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000401   STERLINGOV-0000401     pdf     mtgox screenshot.PNG                                                                         Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000402   STERLINGOV-0000402     pdf     Screenshot_20180310_095308.png                                                               Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000403   STERLINGOV-0000403      txt    71852443932_account_history.txt                                                              Bitstamp records                                                    N/A
STERLINGOV-0000404   STERLINGOV-0000404     csv     71852443932_transaction_history.csv                                                          Bitstamp records                                                    N/A
STERLINGOV-0000405   STERLINGOV-0000405     xlsx    search.xlsx                                                                                  Bitstamp records                                                    N/A
STERLINGOV-0000406   STERLINGOV-0000443     pdf     71852443932_account_information.docx                                                         Bitstamp records                                                    38      Converted to pdf
STERLINGOV-0000444   STERLINGOV-0000450     pdf     Bitstamp GJ2021052477498_SIGNED.pdf                                                          Bitstamp records                                                     7
STERLINGOV-0000451   STERLINGOV-0000467     pdf     71852443932_account_info-beckett Notes 10102017.pdf                                          Bitstamp records                                                    17
STERLINGOV-0000468   STERLINGOV-0000468     xlsx    Transaction_outputs_of_1HEMZAsDvoNAZfiqzhuNKKx1KdcivykaJG.xlsx                               Bitstamp records                                                    N/A
STERLINGOV-0000469   STERLINGOV-0000469     csv     Transaction_outputs_of_Bitstamp.net.csv                                                      Bitstamp records                                                    N/A
STERLINGOV-0000470   STERLINGOV-0000470     xlsx    Transaction_outputs_of_Bitstamp.net.xlsx                                                     Bitstamp records                                                    N/A
STERLINGOV-0000471   STERLINGOV-0000471     xlsx    WalletExplorer-02122017.xlsx                                                                 Bitstamp records                                                    N/A
STERLINGOV-0000472   STERLINGOV-0000472     pdf     922uhmm8761948_97232535796_2018_04_21-2018_05_22.pdf                                         Bitstamp records                                                     1
STERLINGOV-0000473   STERLINGOV-0000473     pdf     922uhmm8761948_bitcoins_norge.pdf                                                            Bitstamp records                                                     1
STERLINGOV-0000474   STERLINGOV-0000474     pdf     922uhmm8761948_macaraja_sas_0.pdf                                                            Bitstamp records                                                     1
STERLINGOV-0000475   STERLINGOV-0000475     pdf     922uhmm8761948_macaraja_sas_1.pdf                                                            Bitstamp records                                                     1
STERLINGOV-0000476   STERLINGOV-0000477     pdf     922uhmm8761948_POR.pdf                                                                       Bitstamp records                                                     2
STERLINGOV-0000478   STERLINGOV-0000478     xlsx    922uhmm8761948_transaction_history.xlsx                                                      Bitstamp records                                                    N/A
STERLINGOV-0000479   STERLINGOV-0000479      txt    922uhmm8761948_account_history.txt                                                           Bitstamp records                                                    N/A
STERLINGOV-0000480   STERLINGOV-0000488     pdf     922uhmm8761948_account_info.docx                                                             Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000489   STERLINGOV-0000489     pdf     922uhmm8761948_bank_0.png                                                                    Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000490   STERLINGOV-0000490     pdf     922uhmm8761948_bank_1.png                                                                    Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000491   STERLINGOV-0000491     pdf     922uhmm8761948_bitcoinsnorge_0.png                                                           Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000492   STERLINGOV-0000492     pdf     922uhmm8761948_bitcoinsnorge_1.png                                                           Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000493   STERLINGOV-0000493     pdf     922uhmm8761948_mail_0.png                                                                    Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000494   STERLINGOV-0000494     pdf     922uhmm8761948_mail_1.png                                                                    Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000495   STERLINGOV-0000495     pdf     922uhmm8761948_doctor.jpg                                                                    Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000496   STERLINGOV-0000496     pdf     922uhmm8761948_passport.jpg                                                                  Bitstamp records                                                     1      Converted to pdf
STERLINGOV-0000497   STERLINGOV-0000498     pdf     Cover Letter.pdf                                                                             Circle/Poloniex records                                              2
STERLINGOV-0000499   STERLINGOV-0000506     pdf     Exhibit A.pdf                                                                                Circle/Poloniex records                                              8
STERLINGOV-0000507   STERLINGOV-0000507     pdf     Exhibit B.pdf                                                                                Circle/Poloniex records                                              1
STERLINGOV-0000508   STERLINGOV-0000508     xlsx    1479363.xlsx                                                                                 Circle/Poloniex records                                             N/A
STERLINGOV-0000509   STERLINGOV-0000512     pdf     Email-Subpoena Response-Coinbase-09112017.pdf                                                Email response from Coinbase                                         4
STERLINGOV-0000513   STERLINGOV-0000515     pdf     response dated 3-20-17_001.pdf                                                               Comcast records                                                      3
STERLINGOV-0000516   STERLINGOV-0000517     pdf     posting_data_guide.pdf                                                                       Craigslist records                                                   2
STERLINGOV-0000518   STERLINGOV-0000521     pdf     USAO-2015R02056-01.pdf                                                                       Craigslist records                                                   4
STERLINGOV-0000522   STERLINGOV-0000553     pdf     USAO-2015R02056-02.pdf                                                                       Craigslist records                                                  32
STERLINGOV-0000554   STERLINGOV-0000593     pdf     USAO-2015R02056-03.pdf                                                                       Craigslist records                                                  40
STERLINGOV-0000594   STERLINGOV-0000594     pdf     USAO-2015R02056-04.pdf                                                                       Craigslist records                                                   1
STERLINGOV-0000595   STERLINGOV-0000595     pdf     USAO-2015R02056-cert.pdf                                                                     Craigslist records                                                   1
STERLINGOV-0000596   STERLINGOV-0000604     pdf     USAO-2015R02056-subpoena.pdf                                                                 Craigslist records                                                   9
STERLINGOV-0000604   STERLINGOV-0000604    htm      ATT00001.htm                                                                                 Craigslist records                                                  N/A
STERLINGOV-0000605   STERLINGOV-0000605    htm      ATT00002.htm                                                                                 Craigslist records                                                  N/A
STERLINGOV-0000606   STERLINGOV-0000606    htm      ATT00003.htm                                                                                 Craigslist records                                                  N/A
STERLINGOV-0000607   STERLINGOV-0000607    htm      ATT00004.htm                                                                                 Craigslist records                                                  N/A
STERLINGOV-0000608   STERLINGOV-0000608    htm      ATT00005.htm                                                                                 Craigslist records                                                  N/A
STERLINGOV-0000609   STERLINGOV-0000609    htm      ATT00006.htm                                                                                 Craigslist records                                                  N/A
STERLINGOV-0000610   STERLINGOV-0000610    htm      ATT00007.htm                                                                                 Craigslist records                                                  N/A
STERLINGOV-0000611   STERLINGOV-0000611      xls    AllItemsWonByUser-Becka__J@hotmail.com-20170522224700.xls                                    eBay records                                                        N/A
STERLINGOV-0000612   STERLINGOV-0000612      xls    AllItemsWonByUser-spam@plasmadivision.com-20170522223100.xls                                 eBay records                                                        N/A
STERLINGOV-0000613   STERLINGOV-0000613      xls    AllListings-Becka__J@hotmail.com-20170524143900.xls                                          eBay records                                                        N/A
STERLINGOV-0000614   STERLINGOV-0000614      xls    AllListings-spam@plasmadivision.com-20170524143500.xls                                       eBay records                                                        N/A
STERLINGOV-0000615   STERLINGOV-0000618     pdf     UserInfo-Becka__J@hotmail.com-20170523060110.pdf                                             eBay records                                                         4
STERLINGOV-0000619   STERLINGOV-0000621     pdf     UserInfo-spam@plasmadivision.com-20170523060010.pdf                                          eBay records                                                         3
STERLINGOV-0000622   STERLINGOV-0000622     xlsx    Subpoena #2015R02056 - GA plate #CBW2483, Anna Jarbur.xlsx                                   Enterprise records                                                  N/A
STERLINGOV-0000623   STERLINGOV-0000623     xlsx    Subpoena #2015R02056 - Roman Sterlingov.xlsx                                                 Enterprise records                                                  N/A
STERLINGOV-0000624   STERLINGOV-0000626     pdf     Certification of Records - Subpoena #2015R02056 - Roman Sterlingov, GA plate #CBW2483.pdf    Enterprise records                                                   3
STERLINGOV-0000627   STERLINGOV-0000627     pdf     20170328140848189.pdf                                                                        Expedia records                                                      1
STERLINGOV-0000628   STERLINGOV-0000629     pdf     Memo Style-Email-ExpediaResponsePaymentLogs-03292017.pdf                                     Expedia records                                                      2
STERLINGOV-0000630   STERLINGOV-0000630     pdf     Memo Style-Expedia Response-03282017.pdf                                                     Expedia records                                                      1
STERLINGOV-0000631   STERLINGOV-0000631     pdf     Sterlingov et al. Response.pdf                                                               Expedia records                                                      1
STERLINGOV-0000632   STERLINGOV-0000632     pdf     Sterlingov et al..pdf                                                                        Expedia records                                                      1
STERLINGOV-0000633   STERLINGOV-0000639     pdf     Subpoena DC_Sterlingov et al._Expedia, Inc._dated 3.19.17.pdf                                Expedia records                                                      7
STERLINGOV-0000640   STERLINGOV-0000643     pdf     186742178487306.pdf                                                                          Facebook records                                                     4
STERLINGOV-0000644   STERLINGOV-0000644     pdf     1203477843134573.pdf                                                                         Facebook records                                                     1
STERLINGOV-0000645   STERLINGOV-0000646     pdf     1302890436499401.pdf                                                                         Facebook records                                                     2
STERLINGOV-0000647   STERLINGOV-0000647     pdf     1671221589844773.pdf                                                                         Facebook records                                                     1
STERLINGOV-0000648   STERLINGOV-0000648     pdf     1769981276663437.pdf                                                                         Facebook records                                                     1
STERLINGOV-0000649   STERLINGOV-0000651     pdf     1880867095530955.pdf                                                                         Facebook records                                                     3
STERLINGOV-0000652   STERLINGOV-0000652     pdf     1963007040654261.pdf                                                                         Facebook records                                                     1
STERLINGOV-0000653   STERLINGOV-0000656     pdf     20170401 MOS-STERLINGOV.docx                                                                 IRS surveillance and associated license plate reader records         4      Converted to pdf
STERLINGOV-0000657   STERLINGOV-0000659     pdf     FL TAG - 639YUK.pdf                                                                          IRS surveillance and associated license plate reader records         3
STERLINGOV-0000660   STERLINGOV-0000676     pdf     FL TAG EVYI91.pdf                                                                            IRS surveillance and associated license plate reader records        17
STERLINGOV-0000677   STERLINGOV-0000690     pdf     GA TAG CBW2483.pdf                                                                           IRS surveillance and associated license plate reader records        14
STERLINGOV-0000691   STERLINGOV-0000731     pdf     Vigilant CLCW77.pdf                                                                          IRS surveillance and associated license plate reader records        41
STERLINGOV-0000732   STERLINGOV-0000732      txt    msg1.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000733   STERLINGOV-0000733      txt    msg2.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000734   STERLINGOV-0000734      txt    msg3.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000735   STERLINGOV-0000735      txt    msg4.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000736   STERLINGOV-0000736      txt    msg5.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000737   STERLINGOV-0000737      txt    msg6.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000738   STERLINGOV-0000738      txt    msg7.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000739   STERLINGOV-0000739      txt    msg8.txt                                                                                     Highhosting records                                                 N/A
STERLINGOV-0000740   STERLINGOV-0000740     pdf     Email-SubpoenaResponse-02222017.pdf                                                          Highhosting records                                                  1
STERLINGOV-0000741   STERLINGOV-0000742     pdf     Email-SubpoenaResponseFollowup-02232017.pdf                                                  Highhosting records                                                  2
STERLINGOV-0000743   STERLINGOV-0000743     pdf     Howell - subpoena return.pdf                                                                 Highhosting records                                                  1
STERLINGOV-0000744   STERLINGOV-0000744     csv     heavydist@gmail.com - Activity.csv                                                           HitBTC records                                                      N/A
STERLINGOV-0000745   STERLINGOV-0000745     pdf     US-190318-1_2019 03 20_Response.pdf                                                          HitBTC records                                                       1
STERLINGOV-0000746   STERLINGOV-0000746     csv     advertisements-gothencoin.csv                                                                LocalBitcoins.com records                                           N/A
STERLINGOV-0000747   STERLINGOV-0000747     csv     received-transactions-gothencoin.csv                                                         LocalBitcoins.com records                                           N/A
STERLINGOV-0000748   STERLINGOV-0000748     csv     sent-transactions-gothencoin.csv                                                             LocalBitcoins.com records                                           N/A
STERLINGOV-0000749   STERLINGOV-0000749     csv     trades-gothencoin.csv                                                                        LocalBitcoins.com records                                           N/A
STERLINGOV-0000750   STERLINGOV-0000750     csv     userlog-data-gothencoin.csv                                                                  LocalBitcoins.com records                                           N/A
STERLINGOV-0000751   STERLINGOV-0000751     xlsx    2020-03-06_1372-2020_overview (1).xlsx                                                       LocalBitcoins.com records                                           N/A
STERLINGOV-0000752   STERLINGOV-0000752     xlsx    2020-03-06_1372-2020_overview.xlsx                                                           LocalBitcoins.com records                                           N/A
STERLINGOV-0000753   STERLINGOV-0000753      txt    account-information-gothencoin.txt                                                           LocalBitcoins.com records                                           N/A
STERLINGOV-0000754   STERLINGOV-0000754      txt    wallet-summary-gothencoin.txt                                                                LocalBitcoins.com records                                           N/A
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BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                                 Batch                                                     Page Count   Notes
STERLINGOV-0000755   STERLINGOV-0000755     pdf     Screenshot at 11-13-11.png                                                                         Microtronix ESolutions records                                  1      Converted to pdf
STERLINGOV-0000756   STERLINGOV-0000756     pdf     BitPay Invoice.pdf                                                                                 Microtronix ESolutions records                                  1
STERLINGOV-0000757   STERLINGOV-0000759     pdf     IP 79.152.197.79 WhoIS.pdf                                                                         Microtronix ESolutions records                                  1
STERLINGOV-0000760   STERLINGOV-0000761     pdf     IP 93.182.129.86 WhoIS.pdf                                                                         Microtronix ESolutions records                                  2
STERLINGOV-0000762   STERLINGOV-0000763     pdf     Memo Style-Email Response AUSA-Feb 2017.pdf                                                        Microtronix ESolutions records                                  2
STERLINGOV-0000764   STERLINGOV-0000765     pdf     Microtronix ESolutions, LLC - Invoice #1308.pdf                                                    Microtronix ESolutions records                                  2
STERLINGOV-0000766   STERLINGOV-0000767     pdf     Order Detail – The SSL Store1.pdf                                                                  Microtronix ESolutions records                                  2
STERLINGOV-0000768   STERLINGOV-0000768     pdf     Order Detail – The SSL Store2.pdf                                                                  Microtronix ESolutions records                                  1
STERLINGOV-0000769   STERLINGOV-0000769     pdf     Order Detail – The SSL Store3.pdf                                                                  Microtronix ESolutions records                                  1
STERLINGOV-0000770   STERLINGOV-0000774     pdf     Tor exit Nodes for IP 93.182.129.86.pdf                                                            Microtronix ESolutions records                                  5
STERLINGOV-0000775   STERLINGOV-0000776     pdf     WHMCS - Client Profile - Edit Screen.pdf                                                           Microtronix ESolutions records                                  2
STERLINGOV-0000777   STERLINGOV-0000778     pdf     WHMCS - Client Profile - Product.pdf                                                               Microtronix ESolutions records                                  2
STERLINGOV-0000779   STERLINGOV-0000781     pdf     WHMCS - Client Profile.pdf                                                                         Microtronix ESolutions records                                  3
STERLINGOV-0000782   STERLINGOV-0000782     pdf     WHMCS - Microtronix BitPay Transactions.pdf                                                        Microtronix ESolutions records                                  1
STERLINGOV-0000783   STERLINGOV-0000783     pdf     WHMCS - Order.pdf                                                                                  Microtronix ESolutions records                                  1
STERLINGOV-0000784   STERLINGOV-0000784     pdf     WHMCS - Viewing Email Message1.pdf                                                                 Microtronix ESolutions records                                  1
STERLINGOV-0000785   STERLINGOV-0000785     pdf     WHMCS - Viewing Email Message2.pdf                                                                 Microtronix ESolutions records                                  1
STERLINGOV-0000786   STERLINGOV-0000786     pdf     WHMCS - Viewing Email Message3.pdf                                                                 Microtronix ESolutions records                                  1
STERLINGOV-0000787   STERLINGOV-0000787     pdf     WHMCS - Viewing Email Message4.pdf                                                                 Microtronix ESolutions records                                  1
STERLINGOV-0000788   STERLINGOV-0000788     pdf     WHMCS - Viewing Email Message5.pdf                                                                 Microtronix ESolutions records                                  1
STERLINGOV-0000789   STERLINGOV-0000790     pdf     Email-SubpoenaResponse-MifCoLLC-092017.pdf                                                         MifCo LLC responses                                             2
STERLINGOV-0000791   STERLINGOV-0000792     pdf     Email-SubpoenaResponse-MifCoLLC-Cotina-092017.pdf                                                  MifCo LLC responses                                             2
STERLINGOV-0000793   STERLINGOV-0000793     txt     Becka__J@hotmail.com - Mailbox Creation Date.txt                                                   MSN Hotmail records                                           N/A
STERLINGOV-0000794   STERLINGOV-0000794    xlsx     Becka__J-IP History.xlsx                                                                           MSN Hotmail records                                           N/A
STERLINGOV-0000795   STERLINGOV-0000795    xlsx     Microsoft_Account_Report_387625.xlsx                                                               MSN Hotmail records                                           N/A
STERLINGOV-0000796   STERLINGOV-0000796    xlsx     Microsoft_Account_Report_387626.xlsx                                                               MSN Hotmail records                                           N/A
STERLINGOV-0000797   STERLINGOV-0000797     csv     moonvpn12@yahoo.com-lt-activity.csv                                                                Oath/Yahoo records                                            N/A
STERLINGOV-0000798   STERLINGOV-0000798     csv     moonvpn@yahoo.com-lt-activity.csv                                                                  Oath/Yahoo records                                            N/A
STERLINGOV-0000799   STERLINGOV-0000799    html     moonvpn12@yahoo.com-subscriber_details-05.07.2021.html                                             Oath/Yahoo records                                            N/A
STERLINGOV-0000800   STERLINGOV-0000800    html     moonvpn12@yahoo.com-lt-activity.html                                                               Oath/Yahoo records                                            N/A
STERLINGOV-0000801   STERLINGOV-0000801    html     moonvpn@yahoo.com-subscriber_details-05.07.2021.html                                               Oath/Yahoo records                                            N/A
STERLINGOV-0000802   STERLINGOV-0000802    html     moonvpn@yahoo.com-lt-activity.html                                                                 Oath/Yahoo records                                            N/A
STERLINGOV-0000803   STERLINGOV-0000810     pdf     Subpoena.pdf                                                                                       Oath/Yahoo records                                              8
STERLINGOV-0000811   STERLINGOV-0000811     pdf     Declaration.pdf                                                                                    Oath/Yahoo records                                              1
STERLINGOV-0000812   STERLINGOV-0000812     pdf     Correspondence.pdf                                                                                 Oath/Yahoo records                                              1
STERLINGOV-0000813   STERLINGOV-0000813     pdf     Agora forum post from weed4all on BCF.pdf                                                          Screen captures related to BitcoinFog                           1
STERLINGOV-0000814   STERLINGOV-0000976     pdf     [ANNOUNCE] Bitcoin Fog Secure Bitcoin Anonymization - Text Extracted.pdf                           Screen captures related to BitcoinFog                          163
STERLINGOV-0000977   STERLINGOV-0001138     pdf     [ANNOUNCE] Bitcoin Fog Secure Bitcoin Anonymization.pdf                                            Screen captures related to BitcoinFog                          162
STERLINGOV-0001139   STERLINGOV-0001140     pdf     Akemashite Omedetou - BitcoinTalk.org Profile.pdf                                                  Screen captures related to BitcoinFog                           2
STERLINGOV-0001141   STERLINGOV-0001148     pdf     Akemashite Omedetou - BitcoinTalk.org.pdf                                                          Screen captures related to BitcoinFog                           8
STERLINGOV-0001149   STERLINGOV-0001152     pdf     Twitter.pdf                                                                                        Screen captures related to BitcoinFog                           4
STERLINGOV-0001153   STERLINGOV-0001153    xlsx     BitcoinTalk.org - Ad bidding BTC addresses.xlsx                                                    Screen captures related to BitcoinFog                         N/A
STERLINGOV-0001154   STERLINGOV-0001156     pdf     AccountInfo-Plasma@plasmadivision.com-1271915590502435206-20180524171928....pdf                    PayPal records                                                  3
STERLINGOV-0001157   STERLINGOV-0001160     pdf     AccountInfo-Plasma@plasmadivision.com-1499101991384769558-20180524171913....pdf                    PayPal records                                                  4
STERLINGOV-0001161   STERLINGOV-0001164     pdf     AccountInfo-spam@plasmadivision.com-1481241981785899537-20180524171921.pdf                         PayPal records                                                  4
STERLINGOV-0001165   STERLINGOV-0001167     pdf     AccountInfo-spam@plasmadivision.com-1634807388585304679-20180524171924.pdf                         PayPal records                                                  3
STERLINGOV-0001168   STERLINGOV-0001170     pdf     AccountInfo-spam@plasmadivision.com-1699710538163525998-20180524171916.pdf                         PayPal records                                                  3
STERLINGOV-0001171   STERLINGOV-0001173     pdf     AccountInfo-spam@plasmadivision.com-1813857154730518297-20180524171925.pdf                         PayPal records                                                  3
STERLINGOV-0001174   STERLINGOV-0001174    xlsx     ActivityLog-Plasma@plasmadivision.com-1271915590502435206-20180524171913....xlsx                   PayPal records                                                N/A
STERLINGOV-0001175   STERLINGOV-0001175    xlsx     ActivityLog-Plasma@plasmadivision.com-1499101991384769558-20180524171837....xlsx                   PayPal records                                                N/A
STERLINGOV-0001176   STERLINGOV-0001176    xlsx     ActivityLog-spam@plasmadivision.com-1481241981785899537-20180524171900.xlsx                        PayPal records                                                N/A
STERLINGOV-0001177   STERLINGOV-0001177    xlsx     ActivityLog-spam@plasmadivision.com-1634807388585304679-20180524171905.xlsx                        PayPal records                                                N/A
STERLINGOV-0001178   STERLINGOV-0001178    xlsx     ActivityLog-spam@plasmadivision.com-1699710538163525998-20180524171857.xlsx                        PayPal records                                                N/A
STERLINGOV-0001179   STERLINGOV-0001179    xlsx     ActivityLog-spam@plasmadivision.com-1813857154730518297-20180524171909.xlsx                        PayPal records                                                N/A
STERLINGOV-0001180   STERLINGOV-0001180    xlsx     TransactionLog-Plasma@plasmadivision.com-1271915590502435206-20180525041....xlsx                   PayPal records                                                N/A
STERLINGOV-0001181   STERLINGOV-0001181    xlsx     TransactionLog-Plasma@plasmadivision.com-1499101991384769558-20180525041....xlsx                   PayPal records                                                N/A
STERLINGOV-0001182   STERLINGOV-0001182    xlsx     TransactionLog-Plasma@plasmadivision.com-1499101991384769558-20180525041-beckettWorkingCopy.xlsx   PayPal records                                                N/A
STERLINGOV-0001183   STERLINGOV-0001183    xlsx     TransactionLog-spam@plasmadivision.com-1481241981785899537-2018052504132....xlsx                   PayPal records                                                N/A
STERLINGOV-0001184   STERLINGOV-0001184    xlsx     TransactionLog-spam@plasmadivision.com-1634807388585304679-2018052504132....xlsx                   PayPal records                                                N/A
STERLINGOV-0001185   STERLINGOV-0001185    xlsx     TransactionLog-spam@plasmadivision.com-1699710538163525998-2018052504132....xlsx                   PayPal records                                                N/A
STERLINGOV-0001186   STERLINGOV-0001186    xlsx     TransactionLog-spam@plasmadivision.com-1813857154730518297-2018052504132....xlsx                   PayPal records                                                N/A
STERLINGOV-0001187   STERLINGOV-0001187     pdf     Subpoena Response-Quadranet-03292017.pdf                                                           QuadraNet response                                              1
STERLINGOV-0001188   STERLINGOV-0001188     pdf     Email-RamNode-PaymentTransaction-03152017.pdf                                                      Ramnode records                                                 1
STERLINGOV-0001189   STERLINGOV-0001189     pdf     Gasparyan1.pdf                                                                                     Ramnode records                                                 1
STERLINGOV-0001190   STERLINGOV-0001191     pdf     gasparyanticket1.pdf                                                                               Ramnode records                                                 2
STERLINGOV-0001192   STERLINGOV-0001193     pdf     Ramnode Followup Response 03272017.pdf                                                             Ramnode records                                                 2
STERLINGOV-0001194   STERLINGOV-0001194     pdf     roman1.pdf                                                                                         Ramnode records                                                 1
STERLINGOV-0001195   STERLINGOV-0001195     pdf     roman1a.pdf                                                                                        Ramnode records                                                 1
STERLINGOV-0001196   STERLINGOV-0001196     pdf     subpoena signed 31017.pdf                                                                          Ramnode records                                                 1
STERLINGOV-0001197   STERLINGOV-0001197     pdf     roman signed 827.pdf                                                                               Ramnode records                                                 1
STERLINGOV-0001198   STERLINGOV-0001199     pdf     roman2.pdf                                                                                         Ramnode records                                                 2
STERLINGOV-0001200   STERLINGOV-0001200    xlsx     Ad Hoc Subpoena Report_REQ0411769-Due 04.23.2021.xlsx                                              SABRE travel records                                          N/A
STERLINGOV-0001201   STERLINGOV-0001201    xlsx     Copy of Subpoena Dated 8.28.17 - Due date is 9.13.17.xlsx                                          SABRE travel records                                          N/A
STERLINGOV-0001202   STERLINGOV-0001208     pdf     Subpoena Dated 8.28.17.pdf                                                                         SABRE travel records                                            7
STERLINGOV-0001209   STERLINGOV-0001209    xlsx     Microsoft_Account_Report_334061.xlsx                                                               Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001210   STERLINGOV-0001210    xlsx     Contact List.xlsx                                                                                  Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001211   STERLINGOV-0001211    htm      Profile Information-OneDrive.htm                                                                   Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001212   STERLINGOV-0001212     pdf     PLEASE READ - Important Response Information.pdf                                                   Microsoft search warrant records (shormint@hotmail.com)         1
STERLINGOV-0001213   STERLINGOV-0001214     pdf     Declaration.pdf                                                                                    Microsoft search warrant records (shormint@hotmail.com)         2
STERLINGOV-0001215   STERLINGOV-0001215     pdf     Contacts Glossary.pdf                                                                              Microsoft search warrant records (shormint@hotmail.com)         1
STERLINGOV-0001216   STERLINGOV-0001216    html     00a487d7-742f-11e5-bd11-002264c1d568.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001217   STERLINGOV-0001217    html     00a487d7-742f-11e5-bd11-002264c1d568_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001218   STERLINGOV-0001218    html     0a623db1-1961-11e6-a916-002264c15478.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001219   STERLINGOV-0001219    html     0a623db1-1961-11e6-a916-002264c15478_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001220   STERLINGOV-0001220    html     0a10696b-f184-11e5-8498-00237de41800.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001221   STERLINGOV-0001221    html     0a10696b-f184-11e5-8498-00237de41800_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001222   STERLINGOV-0001222    html     0adb71a3-4cff-11e6-8e26-6c3be5a7fa53.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001223   STERLINGOV-0001223    html     0adb71a3-4cff-11e6-8e26-6c3be5a7fa53_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001224   STERLINGOV-0001224    html     0b564717-907a-11e5-9307-6c3be5a7fa99.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001225   STERLINGOV-0001225    html     0b564717-907a-11e5-9307-6c3be5a7fa99_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001226   STERLINGOV-0001226    html     0baf1d0e-510b-11e6-942c-d89d675c7930.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001227   STERLINGOV-0001227    html     0baf1d0e-510b-11e6-942c-d89d675c7930_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001228   STERLINGOV-0001228    html     0dfeed60-713b-11e5-94fa-6c3be5a74960.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001229   STERLINGOV-0001229    html     0fafdddc-19da-11e6-bbed-6c3be5a7db79.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001230   STERLINGOV-0001230    html     0fafdddc-19da-11e6-bbed-6c3be5a7db79_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001231   STERLINGOV-0001231    html     1b0a4374-3f98-11e6-8b16-10604bb2d222.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001232   STERLINGOV-0001232    html     1b0a4374-3f98-11e6-8b16-10604bb2d222_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001233   STERLINGOV-0001233    html     1b367eb6-483c-11e6-982b-00215ad9df92.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001234   STERLINGOV-0001234    html     1b367eb6-483c-11e6-982b-00215ad9df92_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001235   STERLINGOV-0001235    html     1c13bc50-c8f3-11e5-ac4f-002264c1d380.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001236   STERLINGOV-0001236    html     1c13bc50-c8f3-11e5-ac4f-002264c1d380_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001237   STERLINGOV-0001237    html     1c34358c-49c7-11e6-8db2-00237de4b074.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001238   STERLINGOV-0001238    html     1c34358c-49c7-11e6-8db2-00237de4b074_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001239   STERLINGOV-0001239    html     1d1e7c5c-cb44-11e5-b99e-00215ad73b0e.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001240   STERLINGOV-0001240    html     1d1e7c5c-cb44-11e5-b99e-00215ad73b0e_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001241   STERLINGOV-0001241    html     1d468f84-8c6a-11e5-92cc-00237de46128.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001242   STERLINGOV-0001242    html     1d468f84-8c6a-11e5-92cc-00237de46128_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001243   STERLINGOV-0001243    html     1e8c0525-b15a-11e5-95a6-6c3be5a7fad6.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001244   STERLINGOV-0001244    html     1e8c0525-b15a-11e5-95a6-6c3be5a7fad6_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001245   STERLINGOV-0001245    html     1f5a7cfa-0e11-11e6-bec2-00248188b2a6.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001246   STERLINGOV-0001246    html     1f5a7cfa-0e11-11e6-bec2-00248188b2a6_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001247   STERLINGOV-0001247    html     1fcbc298-13ee-11e6-8e09-d89d675ff29f.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001248   STERLINGOV-0001248    html     1fcbc298-13ee-11e6-8e09-d89d675ff29f_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001249   STERLINGOV-0001249    html     02d074fa-ffe9-11e5-9251-2c59e5443d8c.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001250   STERLINGOV-0001250    html     02d074fa-ffe9-11e5-9251-2c59e5443d8c_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001251   STERLINGOV-0001251    html     02efd8fb-db04-11e5-a5c3-00215ad9be3e.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001252   STERLINGOV-0001252    html     02efd8fb-db04-11e5-a5c3-00215ad9be3e_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001253   STERLINGOV-0001253    html     02fc7f74-bf8e-11e5-bf7c-d89d675c8946.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001254   STERLINGOV-0001254    html     02fc7f74-bf8e-11e5-bf7c-d89d675c8946_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001255   STERLINGOV-0001255    html     2aeda3ad-a4cc-11e5-9ae2-002264c17b68.html                                                          Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001256   STERLINGOV-0001256    html     2aeda3ad-a4cc-11e5-9ae2-002264c17b68_attachments.html                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
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BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                        Batch                                                     Page Count   Notes
STERLINGOV-0001257   STERLINGOV-0001257    html     2c09cd70-ff2e-11e5-b8b9-00215ad85708.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001258   STERLINGOV-0001258    html     2c09cd70-ff2e-11e5-b8b9-00215ad85708_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001259   STERLINGOV-0001259    html     2cc4a918-2f11-11e6-91ed-6c3be5a7dba1.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001260   STERLINGOV-0001260    html     2cc4a918-2f11-11e6-91ed-6c3be5a7dba1_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001261   STERLINGOV-0001261    html     2d5311d2-b86f-11e5-9581-6c3be5a7db69.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001262   STERLINGOV-0001262    html     2d5311d2-b86f-11e5-9581-6c3be5a7db69_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001263   STERLINGOV-0001263    html     2dc0e47e-71b4-11e5-b52e-002264c17bd4.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001264   STERLINGOV-0001264    html     2dc0e47e-71b4-11e5-b52e-002264c17bd4_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001265   STERLINGOV-0001265    html     2f35fe74-106e-11e6-91d9-6c3be5a7db2f.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001266   STERLINGOV-0001266    html     2f35fe74-106e-11e6-91d9-6c3be5a7db2f_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001267   STERLINGOV-0001267    html     2fa0e738-1e95-11e6-9196-6c3be5a7fac0.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001268   STERLINGOV-0001268    html     2fa0e738-1e95-11e6-9196-6c3be5a7fac0_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001269   STERLINGOV-0001269    html     3a4cf003-b7b5-11e5-92c5-10604bb2e21a.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001270   STERLINGOV-0001270    html     3a4cf003-b7b5-11e5-92c5-10604bb2e21a_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001271   STERLINGOV-0001271    html     3a8d8551-0e85-11e6-af8f-00215ad99f24.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001272   STERLINGOV-0001272    html     3a8d8551-0e85-11e6-af8f-00215ad99f24_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001273   STERLINGOV-0001273    html     3aa15af0-25b9-11e6-95a7-002264c15436.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001274   STERLINGOV-0001274    html     3aa15af0-25b9-11e6-95a7-002264c15436_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001275   STERLINGOV-0001275    html     3b18eaef-8dfc-11e5-9306-00237de3f16c.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001276   STERLINGOV-0001276    html     3b18eaef-8dfc-11e5-9306-00237de3f16c_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001277   STERLINGOV-0001277    html     3b970596-26e7-11e6-9295-6c3be5a7db9f.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001278   STERLINGOV-0001278    html     3b970596-26e7-11e6-9295-6c3be5a7db9f_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001279   STERLINGOV-0001279    html     3c3e50cc-d6ad-11e5-b42a-00237de4a7e6.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001280   STERLINGOV-0001280    html     3c3e50cc-d6ad-11e5-b42a-00237de4a7e6_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001281   STERLINGOV-0001281    html     3c547354-92db-11e5-8487-d89d675c085c.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001282   STERLINGOV-0001282    html     3c547354-92db-11e5-8487-d89d675c085c_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001283   STERLINGOV-0001283    html     3ca1c2e3-950a-11e5-8276-00237de4aeb2.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001284   STERLINGOV-0001284    html     3ca1c2e3-950a-11e5-8276-00237de4aeb2_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001285   STERLINGOV-0001285    html     3e4db6c7-2a66-11e6-bb83-d89d675c7912.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001286   STERLINGOV-0001286    html     3e4db6c7-2a66-11e6-bb83-d89d675c7912_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001287   STERLINGOV-0001287    html     3e18bc96-74d9-11e5-bd0b-002264c18e30.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001288   STERLINGOV-0001288    html     3e18bc96-74d9-11e5-bd0b-002264c18e30_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001289   STERLINGOV-0001289    html     3ecad949-8403-11e5-af8b-00215ad80a58.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001290   STERLINGOV-0001290    html     3ecad949-8403-11e5-af8b-00215ad80a58_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001291   STERLINGOV-0001291    html     3f15832a-c113-11e5-be6d-00237de3f16c.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001292   STERLINGOV-0001292    html     3f15832a-c113-11e5-be6d-00237de3f16c_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001293   STERLINGOV-0001293    html     3fd29073-a8b1-11e5-939a-6c3be5a7face.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001294   STERLINGOV-0001294    html     3fd29073-a8b1-11e5-939a-6c3be5a7face_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001295   STERLINGOV-0001295    html     4a482c61-bb8f-11e5-8c45-00215ad85762.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001296   STERLINGOV-0001296    html     4a482c61-bb8f-11e5-8c45-00215ad85762_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001297   STERLINGOV-0001297    html     4b1f321d-fbfc-11e5-9aed-00215ad9a39e.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001298   STERLINGOV-0001298    html     4b1f321d-fbfc-11e5-9aed-00215ad9a39e_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001299   STERLINGOV-0001299    html     4b41a7e0-9379-11e5-930a-10604bb2f38e.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001300   STERLINGOV-0001300    html     4b41a7e0-9379-11e5-930a-10604bb2f38e_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001301   STERLINGOV-0001301    html     4bd58dee-01ec-11e6-8e16-00248188b046.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001302   STERLINGOV-0001302    html     4bd58dee-01ec-11e6-8e16-00248188b046_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001303   STERLINGOV-0001303    html     4d87fcd5-773b-11e5-9ec1-00237de41680.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001304   STERLINGOV-0001304    html     4d87fcd5-773b-11e5-9ec1-00237de41680_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001305   STERLINGOV-0001305    html     4d4206d8-d25c-11e5-b6bd-00215ad6eee6.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001306   STERLINGOV-0001306    html     4d4206d8-d25c-11e5-b6bd-00215ad6eee6_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001307   STERLINGOV-0001307    html     4e51dc6a-aa4f-11e5-9ae8-1cc1dee8dafd.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001308   STERLINGOV-0001308    html     4e51dc6a-aa4f-11e5-9ae8-1cc1dee8dafd_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001309   STERLINGOV-0001309    html     4f128b44-92b4-11e5-b52b-10604bb2f240.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001310   STERLINGOV-0001310    html     4f128b44-92b4-11e5-b52b-10604bb2f240_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001311   STERLINGOV-0001311    html     4fc66ddb-dd59-11e5-981d-002264c2070e.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001312   STERLINGOV-0001312    html     4fc66ddb-dd59-11e5-981d-002264c2070e_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001313   STERLINGOV-0001313    html     5a58fd42-bdb2-11e5-8ee8-00237de3f4d4.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001314   STERLINGOV-0001314    html     5a58fd42-bdb2-11e5-8ee8-00237de3f4d4_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001315   STERLINGOV-0001315    html     5a4011f6-0765-11e6-bb98-00215ad85750.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001316   STERLINGOV-0001316    html     5a4011f6-0765-11e6-bb98-00215ad85750_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001317   STERLINGOV-0001317    html     5aedab70-91ec-11e5-98eb-d89d675c08f0.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001318   STERLINGOV-0001318    html     5aedab70-91ec-11e5-98eb-d89d675c08f0_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001319   STERLINGOV-0001319    html     5ceb53ce-1d09-11e6-9196-6c3be5a7fac0.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001320   STERLINGOV-0001320    html     5ceb53ce-1d09-11e6-9196-6c3be5a7fac0_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001321   STERLINGOV-0001321    html     5decda36-0a20-11e6-8c83-00248188b130.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001322   STERLINGOV-0001322    html     5decda36-0a20-11e6-8c83-00248188b130_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001323   STERLINGOV-0001323    html     5dfd8d5f-fcca-11e5-8f9f-1cc1de6d3bfd.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001324   STERLINGOV-0001324    html     5dfd8d5f-fcca-11e5-8f9f-1cc1de6d3bfd_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001325   STERLINGOV-0001325    html     5fbf5c8a-0de7-11e6-84e5-00215ad7b3ac.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001326   STERLINGOV-0001326    html     5fbf5c8a-0de7-11e6-84e5-00215ad7b3ac_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001327   STERLINGOV-0001327    html     5febc22b-fe5b-11e5-9fb9-00215ad8c1e8.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001328   STERLINGOV-0001328    html     5febc22b-fe5b-11e5-9fb9-00215ad8c1e8_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001329   STERLINGOV-0001329    html     6b0f6a34-f29c-11e5-891e-002264c20882.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001330   STERLINGOV-0001330    html     6b0f6a34-f29c-11e5-891e-002264c20882_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001331   STERLINGOV-0001331    html     6d18c41c-a270-11e5-9e99-00237de46176.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001332   STERLINGOV-0001332    html     6d18c41c-a270-11e5-9e99-00237de46176_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001333   STERLINGOV-0001333    html     6db25658-002c-11e6-8faf-6c3be5a7db79.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001334   STERLINGOV-0001334    html     6db25658-002c-11e6-8faf-6c3be5a7db79_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001335   STERLINGOV-0001335    html     7aff549b-8a18-11e5-957b-d89d675c79aa.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001336   STERLINGOV-0001336    html     7aff549b-8a18-11e5-957b-d89d675c79aa_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001337   STERLINGOV-0001337    html     7c9ee73a-99c8-11e5-8296-00215ad806e4.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001338   STERLINGOV-0001338    html     7c9ee73a-99c8-11e5-8296-00215ad806e4_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001339   STERLINGOV-0001339    html     7da8a7a1-c9ba-11e5-8e58-6c3be5a7da1e.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001340   STERLINGOV-0001340    html     7da8a7a1-c9ba-11e5-8e58-6c3be5a7da1e_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001341   STERLINGOV-0001341    html     7e0e40fb-e5fe-11e5-bc53-6c3be5a74bc6.html                                                 Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001342   STERLINGOV-0001342    html     7e0e40fb-e5fe-11e5-bc53-6c3be5a74bc6_attachments.html                                     Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001343   STERLINGOV-0001343     txt     00a487d7-742f-11e5-bd11-002264c1d568_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001344   STERLINGOV-0001344     txt     00a487d7-742f-11e5-bd11-002264c1d568_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001345   STERLINGOV-0001345     txt     0a623db1-1961-11e6-a916-002264c15478_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001346   STERLINGOV-0001346     txt     0a623db1-1961-11e6-a916-002264c15478_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001347   STERLINGOV-0001347     txt     0a10696b-f184-11e5-8498-00237de41800_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001348   STERLINGOV-0001348     txt     0a10696b-f184-11e5-8498-00237de41800_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001349   STERLINGOV-0001349     txt     0adb71a3-4cff-11e6-8e26-6c3be5a7fa53_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001350   STERLINGOV-0001350     txt     0adb71a3-4cff-11e6-8e26-6c3be5a7fa53_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001351   STERLINGOV-0001351     txt     0b564717-907a-11e5-9307-6c3be5a7fa99_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001352   STERLINGOV-0001352     txt     0b564717-907a-11e5-9307-6c3be5a7fa99_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001353   STERLINGOV-0001353     txt     0baf1d0e-510b-11e6-942c-d89d675c7930_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001354   STERLINGOV-0001354     txt     0baf1d0e-510b-11e6-942c-d89d675c7930_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001355   STERLINGOV-0001355     txt     0dfeed60-713b-11e5-94fa-6c3be5a74960_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001356   STERLINGOV-0001356     txt     0dfeed60-713b-11e5-94fa-6c3be5a74960_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001357   STERLINGOV-0001357     txt     0fafdddc-19da-11e6-bbed-6c3be5a7db79_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001358   STERLINGOV-0001358     txt     0fafdddc-19da-11e6-bbed-6c3be5a7db79_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001359   STERLINGOV-0001359     txt     1b0a4374-3f98-11e6-8b16-10604bb2d222_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001360   STERLINGOV-0001360     txt     1b0a4374-3f98-11e6-8b16-10604bb2d222_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001361   STERLINGOV-0001361     txt     1b367eb6-483c-11e6-982b-00215ad9df92_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001362   STERLINGOV-0001362     txt     1b367eb6-483c-11e6-982b-00215ad9df92_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001363   STERLINGOV-0001363     txt     1c13bc50-c8f3-11e5-ac4f-002264c1d380_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001364   STERLINGOV-0001364     txt     1c13bc50-c8f3-11e5-ac4f-002264c1d380_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001365   STERLINGOV-0001365     txt     1c34358c-49c7-11e6-8db2-00237de4b074_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001366   STERLINGOV-0001366     txt     1c34358c-49c7-11e6-8db2-00237de4b074_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001367   STERLINGOV-0001367     txt     1d1e7c5c-cb44-11e5-b99e-00215ad73b0e_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001368   STERLINGOV-0001368     txt     1d1e7c5c-cb44-11e5-b99e-00215ad73b0e_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001369   STERLINGOV-0001369     txt     1d468f84-8c6a-11e5-92cc-00237de46128_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001370   STERLINGOV-0001370     txt     1d468f84-8c6a-11e5-92cc-00237de46128_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001371   STERLINGOV-0001371     txt     1e8c0525-b15a-11e5-95a6-6c3be5a7fad6_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001372   STERLINGOV-0001372     txt     1e8c0525-b15a-11e5-95a6-6c3be5a7fad6_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001373   STERLINGOV-0001373     txt     1f5a7cfa-0e11-11e6-bec2-00248188b2a6_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001374   STERLINGOV-0001374     txt     1f5a7cfa-0e11-11e6-bec2-00248188b2a6_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001375   STERLINGOV-0001375     txt     1fcbc298-13ee-11e6-8e09-d89d675ff29f_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001376   STERLINGOV-0001376     txt     1fcbc298-13ee-11e6-8e09-d89d675ff29f_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001377   STERLINGOV-0001377     txt     02d074fa-ffe9-11e5-9251-2c59e5443d8c_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
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BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                        Batch                                                     Page Count   Notes
STERLINGOV-0001378   STERLINGOV-0001378     txt     02d074fa-ffe9-11e5-9251-2c59e5443d8c_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001379   STERLINGOV-0001379     txt     02efd8fb-db04-11e5-a5c3-00215ad9be3e_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001380   STERLINGOV-0001380     txt     02efd8fb-db04-11e5-a5c3-00215ad9be3e_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001381   STERLINGOV-0001381     txt     02fc7f74-bf8e-11e5-bf7c-d89d675c8946_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001382   STERLINGOV-0001382     txt     02fc7f74-bf8e-11e5-bf7c-d89d675c8946_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001383   STERLINGOV-0001383     txt     2aeda3ad-a4cc-11e5-9ae2-002264c17b68_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001384   STERLINGOV-0001384     txt     2aeda3ad-a4cc-11e5-9ae2-002264c17b68_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001385   STERLINGOV-0001385     txt     2c09cd70-ff2e-11e5-b8b9-00215ad85708_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001386   STERLINGOV-0001386     txt     2c09cd70-ff2e-11e5-b8b9-00215ad85708_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001387   STERLINGOV-0001387     txt     2cc4a918-2f11-11e6-91ed-6c3be5a7dba1_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001388   STERLINGOV-0001388     txt     2cc4a918-2f11-11e6-91ed-6c3be5a7dba1_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001389   STERLINGOV-0001389     txt     2d5311d2-b86f-11e5-9581-6c3be5a7db69_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001390   STERLINGOV-0001390     txt     2d5311d2-b86f-11e5-9581-6c3be5a7db69_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001391   STERLINGOV-0001391     txt     2dc0e47e-71b4-11e5-b52e-002264c17bd4_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001392   STERLINGOV-0001392     txt     2dc0e47e-71b4-11e5-b52e-002264c17bd4_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001393   STERLINGOV-0001393     txt     2f35fe74-106e-11e6-91d9-6c3be5a7db2f_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001394   STERLINGOV-0001394     txt     2f35fe74-106e-11e6-91d9-6c3be5a7db2f_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001395   STERLINGOV-0001395     txt     2fa0e738-1e95-11e6-9196-6c3be5a7fac0_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001396   STERLINGOV-0001396     txt     2fa0e738-1e95-11e6-9196-6c3be5a7fac0_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001397   STERLINGOV-0001397     txt     3a4cf003-b7b5-11e5-92c5-10604bb2e21a_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001398   STERLINGOV-0001398     txt     3a4cf003-b7b5-11e5-92c5-10604bb2e21a_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001399   STERLINGOV-0001399     txt     3a8d8551-0e85-11e6-af8f-00215ad99f24_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001400   STERLINGOV-0001400     txt     3a8d8551-0e85-11e6-af8f-00215ad99f24_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001401   STERLINGOV-0001401     txt     3aa15af0-25b9-11e6-95a7-002264c15436_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001402   STERLINGOV-0001402     txt     3aa15af0-25b9-11e6-95a7-002264c15436_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001403   STERLINGOV-0001403     txt     3b18eaef-8dfc-11e5-9306-00237de3f16c_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001404   STERLINGOV-0001404     txt     3b18eaef-8dfc-11e5-9306-00237de3f16c_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001405   STERLINGOV-0001405     txt     3b970596-26e7-11e6-9295-6c3be5a7db9f_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001406   STERLINGOV-0001406     txt     3b970596-26e7-11e6-9295-6c3be5a7db9f_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001407   STERLINGOV-0001407     txt     3c3e50cc-d6ad-11e5-b42a-00237de4a7e6_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001408   STERLINGOV-0001408     txt     3c3e50cc-d6ad-11e5-b42a-00237de4a7e6_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001409   STERLINGOV-0001409     txt     3c547354-92db-11e5-8487-d89d675c085c_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001410   STERLINGOV-0001410     txt     3c547354-92db-11e5-8487-d89d675c085c_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001411   STERLINGOV-0001411     txt     3ca1c2e3-950a-11e5-8276-00237de4aeb2_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001412   STERLINGOV-0001412     txt     3ca1c2e3-950a-11e5-8276-00237de4aeb2_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001413   STERLINGOV-0001413     txt     3e4db6c7-2a66-11e6-bb83-d89d675c7912_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001414   STERLINGOV-0001414     txt     3e4db6c7-2a66-11e6-bb83-d89d675c7912_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001415   STERLINGOV-0001415     txt     3e18bc96-74d9-11e5-bd0b-002264c18e30_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001416   STERLINGOV-0001416     txt     3e18bc96-74d9-11e5-bd0b-002264c18e30_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001417   STERLINGOV-0001417     txt     3ecad949-8403-11e5-af8b-00215ad80a58_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001418   STERLINGOV-0001418     txt     3ecad949-8403-11e5-af8b-00215ad80a58_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001419   STERLINGOV-0001419     txt     3f15832a-c113-11e5-be6d-00237de3f16c_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001420   STERLINGOV-0001420     txt     3f15832a-c113-11e5-be6d-00237de3f16c_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001421   STERLINGOV-0001421     txt     3fd29073-a8b1-11e5-939a-6c3be5a7face_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001422   STERLINGOV-0001422     txt     3fd29073-a8b1-11e5-939a-6c3be5a7face_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001423   STERLINGOV-0001423     txt     4a482c61-bb8f-11e5-8c45-00215ad85762_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001424   STERLINGOV-0001424     txt     4a482c61-bb8f-11e5-8c45-00215ad85762_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001425   STERLINGOV-0001425     txt     4b1f321d-fbfc-11e5-9aed-00215ad9a39e_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001426   STERLINGOV-0001426     txt     4b1f321d-fbfc-11e5-9aed-00215ad9a39e_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001427   STERLINGOV-0001427     txt     4b41a7e0-9379-11e5-930a-10604bb2f38e_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001428   STERLINGOV-0001428     txt     4b41a7e0-9379-11e5-930a-10604bb2f38e_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001429   STERLINGOV-0001429     txt     4bd58dee-01ec-11e6-8e16-00248188b046_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001430   STERLINGOV-0001430     txt     4bd58dee-01ec-11e6-8e16-00248188b046_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001431   STERLINGOV-0001431     txt     4d87fcd5-773b-11e5-9ec1-00237de41680_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001432   STERLINGOV-0001432     txt     4d87fcd5-773b-11e5-9ec1-00237de41680_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001433   STERLINGOV-0001433     txt     4d4206d8-d25c-11e5-b6bd-00215ad6eee6_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001434   STERLINGOV-0001434     txt     4d4206d8-d25c-11e5-b6bd-00215ad6eee6_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001435   STERLINGOV-0001435     txt     4e51dc6a-aa4f-11e5-9ae8-1cc1dee8dafd_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001436   STERLINGOV-0001436     txt     4e51dc6a-aa4f-11e5-9ae8-1cc1dee8dafd_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001437   STERLINGOV-0001437     txt     4f128b44-92b4-11e5-b52b-10604bb2f240_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001438   STERLINGOV-0001438     txt     4f128b44-92b4-11e5-b52b-10604bb2f240_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001439   STERLINGOV-0001439     txt     4fc66ddb-dd59-11e5-981d-002264c2070e_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001440   STERLINGOV-0001440     txt     4fc66ddb-dd59-11e5-981d-002264c2070e_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001441   STERLINGOV-0001441     txt     5a58fd42-bdb2-11e5-8ee8-00237de3f4d4_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001442   STERLINGOV-0001442     txt     5a58fd42-bdb2-11e5-8ee8-00237de3f4d4_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001443   STERLINGOV-0001443     txt     5a4011f6-0765-11e6-bb98-00215ad85750_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001444   STERLINGOV-0001444     txt     5a4011f6-0765-11e6-bb98-00215ad85750_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001445   STERLINGOV-0001445     txt     5aedab70-91ec-11e5-98eb-d89d675c08f0_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001446   STERLINGOV-0001446     txt     5aedab70-91ec-11e5-98eb-d89d675c08f0_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001447   STERLINGOV-0001447     txt     5ceb53ce-1d09-11e6-9196-6c3be5a7fac0_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001448   STERLINGOV-0001448     txt     5ceb53ce-1d09-11e6-9196-6c3be5a7fac0_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001449   STERLINGOV-0001449     txt     5decda36-0a20-11e6-8c83-00248188b130_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001450   STERLINGOV-0001450     txt     5decda36-0a20-11e6-8c83-00248188b130_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001451   STERLINGOV-0001451     txt     5dfd8d5f-fcca-11e5-8f9f-1cc1de6d3bfd_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001452   STERLINGOV-0001452     txt     5dfd8d5f-fcca-11e5-8f9f-1cc1de6d3bfd_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001453   STERLINGOV-0001453     txt     5fbf5c8a-0de7-11e6-84e5-00215ad7b3ac_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001454   STERLINGOV-0001454     txt     5fbf5c8a-0de7-11e6-84e5-00215ad7b3ac_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001455   STERLINGOV-0001455     txt     5febc22b-fe5b-11e5-9fb9-00215ad8c1e8_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001456   STERLINGOV-0001456     txt     5febc22b-fe5b-11e5-9fb9-00215ad8c1e8_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001457   STERLINGOV-0001457     txt     6b0f6a34-f29c-11e5-891e-002264c20882_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001458   STERLINGOV-0001458     txt     6b0f6a34-f29c-11e5-891e-002264c20882_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001459   STERLINGOV-0001459     txt     6d18c41c-a270-11e5-9e99-00237de46176_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001460   STERLINGOV-0001460     txt     6d18c41c-a270-11e5-9e99-00237de46176_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001461   STERLINGOV-0001461     txt     6db25658-002c-11e6-8faf-6c3be5a7db79_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001462   STERLINGOV-0001462     txt     6db25658-002c-11e6-8faf-6c3be5a7db79_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001463   STERLINGOV-0001463     txt     7aff549b-8a18-11e5-957b-d89d675c79aa_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001464   STERLINGOV-0001464     txt     7aff549b-8a18-11e5-957b-d89d675c79aa_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001465   STERLINGOV-0001465     txt     7c9ee73a-99c8-11e5-8296-00215ad806e4_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001466   STERLINGOV-0001466     txt     7c9ee73a-99c8-11e5-8296-00215ad806e4_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001467   STERLINGOV-0001467     txt     7da8a7a1-c9ba-11e5-8e58-6c3be5a7da1e_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001468   STERLINGOV-0001468     txt     7da8a7a1-c9ba-11e5-8e58-6c3be5a7da1e_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001469   STERLINGOV-0001469     txt     7e0e40fb-e5fe-11e5-bc53-6c3be5a74bc6_hdr.txt                                              Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001470   STERLINGOV-0001470     txt     7e0e40fb-e5fe-11e5-bc53-6c3be5a74bc6_mime.txt                                             Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001471   STERLINGOV-0001471     txt     attachment_00.txt                                                                         Microsoft search warrant records (shormint@hotmail.com)       N/A
STERLINGOV-0001472   STERLINGOV-0001472     pdf     1824020906 final invoice.pdf                                                              Sixt+E608 Rent a Car, LLC records                               1
STERLINGOV-0001473   STERLINGOV-0001474     pdf     1824020906 vehicle specs.pdf                                                              Sixt Rent a Car, LLC records                                    2
STERLINGOV-0001475   STERLINGOV-0001475     pdf     9334146034 final invoice.pdf                                                              Sixt Rent a Car, LLC records                                    1
STERLINGOV-0001476   STERLINGOV-0001477     pdf     9334146034 vehicle specs.pdf                                                              Sixt Rent a Car, LLC records                                    2
STERLINGOV-0001478   STERLINGOV-0001478     pdf     9351185849 final invoice.pdf                                                              Sixt Rent a Car, LLC records                                    1
STERLINGOV-0001479   STERLINGOV-0001480     pdf     9351185849 vehicle specs.pdf                                                              Sixt Rent a Car, LLC records                                    2
STERLINGOV-0001481   STERLINGOV-0001481     pdf     9351536091 final invoice.pdf                                                              Sixt Rent a Car, LLC records                                    1
STERLINGOV-0001482   STERLINGOV-0001482     pdf     9351945094 final invoice.pdf                                                              Sixt Rent a Car, LLC records                                    1
STERLINGOV-0001483   STERLINGOV-0001483     pdf     9351945094 invoice details.pdf                                                            Sixt Rent a Car, LLC records                                    1
STERLINGOV-0001484   STERLINGOV-0001485     pdf     9351945094 vehicle specs.pdf                                                              Sixt Rent a Car, LLC records                                    2
STERLINGOV-0001486   STERLINGOV-0001486     pdf     e1196_2017-04-03_16-55-52-521.pdf                                                         Sixt Rent a Car, LLC records                                    1
STERLINGOV-0001487   STERLINGOV-0001487     pdf     9351536091 license.jpg                                                                    Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001488   STERLINGOV-0001488     pdf     1824020906 driver.png                                                                     Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001489   STERLINGOV-0001489     pdf     1824020906 invoice details.png                                                            Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001490   STERLINGOV-0001490     pdf     1824020906 no additional driver.png                                                       Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001491   STERLINGOV-0001491     pdf     1824020906 no collection set up.png                                                       Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001492   STERLINGOV-0001492     pdf     1824020906.png                                                                            Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001493   STERLINGOV-0001493     pdf     9334146034 driver.png                                                                     Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001494   STERLINGOV-0001494     pdf     9334146034 invoice detaisl.png                                                            Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001495   STERLINGOV-0001495     pdf     9334146034 no additional driver.png                                                       Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001496   STERLINGOV-0001496     pdf     9334146034 no collection set up.png                                                       Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001497   STERLINGOV-0001497     pdf     9334146034.png                                                                            Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001498   STERLINGOV-0001498     pdf     9336185727 Toll 1.png                                                                     Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001499   STERLINGOV-0001499     pdf     9338463032 Toll 2.png                                                                     Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001500   STERLINGOV-0001500     pdf     9351185849 driver.png                                                                     Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001501   STERLINGOV-0001501     pdf     9351185849 no additional driver.png                                                       Sixt Rent a Car, LLC records                                    1      Converted to pdf
STERLINGOV-0001502   STERLINGOV-0001502     pdf     9351185849 no collection set up.png                                                       Sixt Rent a Car, LLC records                                    1      Converted to pdf
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BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                          Batch                                         Page Count   Notes
STERLINGOV-0001503   STERLINGOV-0001503     pdf     9351185849.png                                                                              Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001504   STERLINGOV-0001504     pdf     9351536091 driver.png                                                                       Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001505   STERLINGOV-0001505     pdf     9351536091 invoice details.png                                                              Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001506   STERLINGOV-0001506     pdf     9351536091 no additional driver.png                                                         Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001507   STERLINGOV-0001507     pdf     9351536091 no collection set up.png                                                         Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001508   STERLINGOV-0001508     pdf     9351536091.png                                                                              Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001509   STERLINGOV-0001509     pdf     9351945094 driver.png                                                                       Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001510   STERLINGOV-0001510     pdf     9351945094 invoice details.png                                                              Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001511   STERLINGOV-0001511     pdf     9351945094 no additional driver.png                                                         Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001512   STERLINGOV-0001512     pdf     9351945094 no collection set up.png                                                         Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001513   STERLINGOV-0001513     pdf     9351945094 reservation.png                                                                  Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001514   STERLINGOV-0001514     pdf     9351945094.png                                                                              Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001515   STERLINGOV-0001515     pdf     9352496619 Toll.png                                                                         Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001516   STERLINGOV-0001516     pdf     1824020906 rental agreement.tif                                                             Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001517   STERLINGOV-0001517     pdf     9351536091 rental agreement.tif                                                             Sixt Rent a Car, LLC records                        1      Converted to pdf
STERLINGOV-0001518   STERLINGOV-0001521     pdf     Subpoena Response Tower 1800 Miami Beach- 04182017.pdf                                      Tower 1800 Condominium, Inc. rental records         4
STERLINGOV-0001522   STERLINGOV-0001522     pdf     IMG_20170418_092415.jpg                                                                     Tower 1800 Condominium, Inc. rental records         1      Converted to pdf
STERLINGOV-0001523   STERLINGOV-0001523     txt     399587864-account.txt                                                                       Twitter 2703(d) Order records                     N/A
STERLINGOV-0001524   STERLINGOV-0001524     txt     399587864-account-creation-ip.txt                                                           Twitter 2703(d) Order records                     N/A
STERLINGOV-0001525   STERLINGOV-0001525     txt     399587864-devices.txt                                                                       Twitter 2703(d) Order records                     N/A
STERLINGOV-0001526   STERLINGOV-0001526     txt     399587864-dms.txt                                                                           Twitter 2703(d) Order records                     N/A
STERLINGOV-0001527   STERLINGOV-0001527     txt     399587864-groupdm.txt                                                                       Twitter 2703(d) Order records                     N/A
STERLINGOV-0001528   STERLINGOV-0001528     txt     399587864-ipaudit.txt                                                                       Twitter 2703(d) Order records                     N/A
STERLINGOV-0001529   STERLINGOV-0001529     txt     evidence-key.txt                                                                            Twitter 2703(d) Order records                     N/A
STERLINGOV-0001530   STERLINGOV-0001531     pdf     77.247.181.pdf                                                                              Twitter 2703(d) Order records                       2
STERLINGOV-0001532   STERLINGOV-0001532     pdf     399587864-account.pdf                                                                       Twitter 2703(d) Order records                       1
STERLINGOV-0001533   STERLINGOV-0001533     pdf     399587864-account-creation-ip.pdf                                                           Twitter 2703(d) Order records                       1
STERLINGOV-0001534   STERLINGOV-0001534     pdf     399587864-devices.pdf                                                                       Twitter 2703(d) Order records                       1
STERLINGOV-0001535   STERLINGOV-0001535     pdf     399587864-dms.pdf                                                                           Twitter 2703(d) Order records                       1
STERLINGOV-0001536   STERLINGOV-0001536     pdf     399587864-groupdm.pdf                                                                       Twitter 2703(d) Order records                       1
STERLINGOV-0001537   STERLINGOV-0001537     pdf     399587864-ipaudit.pdf                                                                       Twitter 2703(d) Order records                       1
STERLINGOV-0001538   STERLINGOV-0001539     pdf     Email_From_Twitter_7-13-2016.pdf                                                            Twitter 2703(d) Order records                       2
STERLINGOV-0001540   STERLINGOV-0001541     pdf     evidence-key.pdf                                                                            Twitter 2703(d) Order records                       2
STERLINGOV-0001542   STERLINGOV-0001549     pdf     MEMO-SA-WDC09-Memorandum of Activity-Bitcoin Fog UC Transactions (Price 9-13-19).docx       IRS records of undercover transactions              8      Converted to pdf
STERLINGOV-0001550   STERLINGOV-0001550     pdf     UC transaction tracing 11-21-19.png                                                         IRS records of undercover transactions              1      Converted to pdf
STERLINGOV-0001551   STERLINGOV-0001551    mov      Screen Recording 2019-11-19 at 10.50.12 AM.mov                                              IRS records of undercover transactions            N/A
STERLINGOV-0001552   STERLINGOV-0001552    mov      Screen Recording 2019-11-19 at 10.55.14 AM.mov                                              IRS records of undercover transactions            N/A
STERLINGOV-0001553   STERLINGOV-0001553    mov      Screen Recording 2019-11-19 at 11.19.35 AM.mov                                              IRS records of undercover transactions            N/A
STERLINGOV-0001554   STERLINGOV-0001554    mov      Screen Recording 2019-11-19 at 11.37.19 AM.mov                                              IRS records of undercover transactions            N/A
STERLINGOV-0001555   STERLINGOV-0001555    mov      Screen Recording 2019-11-21 at 11.54.01 AM.mov                                              IRS records of undercover transactions            N/A
STERLINGOV-0001556   STERLINGOV-0001556    mov      Screen Recording 2019-11-21 at 12.25.32 PM.mov                                              IRS records of undercover transactions            N/A
STERLINGOV-0001557   STERLINGOV-0001567     pdf     1800 Collins Ave PEL.pdf                                                                    Zillow records                                     11
STERLINGOV-0001568   STERLINGOV-0001568     pdf     1800 Collins Ave price history.pdf                                                          Zillow records                                      1
STERLINGOV-0001569   STERLINGOV-0001569     pdf     Declaration of Custodian of Records.pdf                                                     Zillow records                                      1
STERLINGOV-0001570   STERLINGOV-0001570     pdf     Response to Subpoena - GJ2017082841638.pdf                                                  Zillow records                                      1
STERLINGOV-0001571   STERLINGOV-0001571   mbox      inva7id@gmail.com.Gmail.Content.Preserved.2.mbox                                            Google search warrant records                     N/A
STERLINGOV-0001572   STERLINGOV-0001572   mbox      inva7id@gmail.com.Gmail.Content.Preserved.2 (2).mbox                                        Google search warrant records                     N/A
STERLINGOV-0001573   STERLINGOV-0001573   mbox      inva7id@gmail.com.Gmail.Content.Preserved.1.mbox                                            Google search warrant records                     N/A
STERLINGOV-0001574   STERLINGOV-0001574   mbox      inva7id@gmail.com.Gmail.Content.Preserved.1 (2).mbox                                        Google search warrant records                     N/A
STERLINGOV-0001575   STERLINGOV-0001575   mbox      heavydist@gmail.com.Gmail.Content.Preserved.2.mbox                                          Google search warrant records                     N/A
STERLINGOV-0001576   STERLINGOV-0001576   mbox      heavydist@gmail.com.Gmail.Content.Preserved.1.mbox                                          Google search warrant records                     N/A
STERLINGOV-0001577   STERLINGOV-0001577   mbox      heavydist@gmail.com.Gmail.Content.mbox                                                      Google search warrant records                     N/A
STERLINGOV-0001578   STERLINGOV-0001578   mbox      gasparyanit@gmail.com.Gmail.Content.Preserved.mbox                                          Google search warrant records                     N/A
STERLINGOV-0001579   STERLINGOV-0001579   mbox      gasparyanit@gmail.com.Gmail.Content.mbox                                                    Google search warrant records                     N/A
STERLINGOV-0001580   STERLINGOV-0001580     vcf     inva7id.Gmail.Contacts.vcf                                                                  Google search warrant records                     N/A
STERLINGOV-0001581   STERLINGOV-0001581     vcf     heavydist.Gmail.Contacts.vcf                                                                Google search warrant records                     N/A
STERLINGOV-0001582   STERLINGOV-0001582     vcf     gorski.serafin.Gmail.Contacts.vcf                                                           Google search warrant records                     N/A
STERLINGOV-0001583   STERLINGOV-0001583     vcf     gasparyanit.Gmail.Contacts.vcf                                                              Google search warrant records                     N/A
STERLINGOV-0001584   STERLINGOV-0001584     txt     inva7id@gmail.com-AccountsLinkedByCookies.txt                                               Google search warrant records                     N/A
STERLINGOV-0001585   STERLINGOV-0001585     txt     inva7id.AccountInfo.txt                                                                     Google search warrant records                     N/A
STERLINGOV-0001586   STERLINGOV-0001586     txt     inva7id.AccountInfo.Preserved.2.txt                                                         Google search warrant records                     N/A
STERLINGOV-0001587   STERLINGOV-0001587     txt     inva7id.AccountInfo.Preserved.1.txt                                                         Google search warrant records                     N/A
STERLINGOV-0001588   STERLINGOV-0001588     txt     heavydist@gmail.com-AccountsLinkedByCookies.txt                                             Google search warrant records                     N/A
STERLINGOV-0001589   STERLINGOV-0001589     txt     heavydist.AccountInfo.txt                                                                   Google search warrant records                     N/A
STERLINGOV-0001590   STERLINGOV-0001590     txt     heavydist.AccountInfo.Preserved.2.txt                                                       Google search warrant records                     N/A
STERLINGOV-0001591   STERLINGOV-0001591     txt     heavydist.AccountInfo.Preserved.1.txt                                                       Google search warrant records                     N/A
STERLINGOV-0001592   STERLINGOV-0001592     txt     gorski.serafin.Gmail.NoExport.txt                                                           Google search warrant records                     N/A
STERLINGOV-0001593   STERLINGOV-0001593     txt     gorski.serafin.Drive.txt                                                                    Google search warrant records                     N/A
STERLINGOV-0001594   STERLINGOV-0001594     txt     gorski.serafin.Drive.Metadata.txt                                                           Google search warrant records                     N/A
STERLINGOV-0001595   STERLINGOV-0001595     txt     gorski.serafin.AccountInfo.txt                                                              Google search warrant records                     N/A
STERLINGOV-0001596   STERLINGOV-0001596     txt     gasparyanit@gmail.com-AccountsLinkedByCookies.txt                                           Google search warrant records                     N/A
STERLINGOV-0001597   STERLINGOV-0001597     txt     gasparyanit.AccountInfo.txt                                                                 Google search warrant records                     N/A
STERLINGOV-0001598   STERLINGOV-0001598     txt     gasparyanit.AccountInfo.Preserved.txt                                                       Google search warrant records                     N/A
STERLINGOV-0001599   STERLINGOV-0001599     pdf     inva7id.LinkedBySecondary.pdf                                                               Google search warrant records                       1
STERLINGOV-0001600   STERLINGOV-0001600     pdf     inva7id.AccountsLinkedBySMS.pdf                                                             Google search warrant records                       1
STERLINGOV-0001601   STERLINGOV-0001601     pdf     inva7id.AccountsLinkedByCreationIP.pdf                                                      Google search warrant records                       1
STERLINGOV-0001602   STERLINGOV-0001602     pdf     gorski.serafin.AccountsLinkedByCreationIP.pdf                                               Google search warrant records                       1
STERLINGOV-0001603   STERLINGOV-0001603     pdf     GasparyanIT.AccountsLinkedByCreationIP.pdf                                                  Google search warrant records                       1
STERLINGOV-0001604   STERLINGOV-0001604    html     Chats.html                                                                                  Google search warrant records                     N/A
STERLINGOV-0001605   STERLINGOV-0001605    html     Chats.html                                                                                  Google search warrant records                     N/A
STERLINGOV-0001606   STERLINGOV-0001606     txt     R00t.txt-metadata.txt                                                                       Google search warrant records                     N/A
STERLINGOV-0001607   STERLINGOV-0001607     txt     VPN.txt-metadata.txt                                                                        Google search warrant records                     N/A
STERLINGOV-0001608   STERLINGOV-0001608     txt     BTC-metadata.txt                                                                            Google search warrant records                     N/A
STERLINGOV-0001609   STERLINGOV-0001609     txt     gmail.txt(1)-metadata.txt                                                                   Google search warrant records                     N/A
STERLINGOV-0001610   STERLINGOV-0001610     txt     gmail.txt-metadata.txt                                                                      Google search warrant records                     N/A
STERLINGOV-0001611   STERLINGOV-0001611     txt     KEYS-metadata.txt                                                                           Google search warrant records                     N/A
STERLINGOV-0001612   STERLINGOV-0001612     txt     R00t.txt-metadata.txt                                                                       Google search warrant records                     N/A
STERLINGOV-0001613   STERLINGOV-0001613     txt     id_rsa.pub-metadata.txt                                                                     Google search warrant records                     N/A
STERLINGOV-0001614   STERLINGOV-0001614     txt     id_rsa-metadata.txt                                                                         Google search warrant records                     N/A
STERLINGOV-0001615   STERLINGOV-0001615     txt     putty_private.ppk-metadata.txt                                                              Google search warrant records                     N/A
STERLINGOV-0001616   STERLINGOV-0001616     txt     work-metadata.txt                                                                           Google search warrant records                     N/A
STERLINGOV-0001617   STERLINGOV-0001617     txt     R00t.txt-metadata.txt                                                                       Google search warrant records                     N/A
STERLINGOV-0001618   STERLINGOV-0001618     txt     VPN.txt-metadata.txt                                                                        Google search warrant records                     N/A
STERLINGOV-0001619   STERLINGOV-0001619     txt     BTC-metadata.txt                                                                            Google search warrant records                     N/A
STERLINGOV-0001620   STERLINGOV-0001620     txt     gmail.txt(1)-metadata.txt                                                                   Google search warrant records                     N/A
STERLINGOV-0001621   STERLINGOV-0001621     txt     gmail.txt-metadata.txt                                                                      Google search warrant records                     N/A
STERLINGOV-0001622   STERLINGOV-0001622     txt     KEYS-metadata.txt                                                                           Google search warrant records                     N/A
STERLINGOV-0001623   STERLINGOV-0001623     txt     R00t.txt-metadata.txt                                                                       Google search warrant records                     N/A
STERLINGOV-0001624   STERLINGOV-0001624     txt     id_rsa.pub-metadata.txt                                                                     Google search warrant records                     N/A
STERLINGOV-0001625   STERLINGOV-0001625     txt     id_rsa-metadata.txt                                                                         Google search warrant records                     N/A
STERLINGOV-0001626   STERLINGOV-0001626     txt     putty_private.ppk-metadata.txt                                                              Google search warrant records                     N/A
STERLINGOV-0001627   STERLINGOV-0001627     txt     work-metadata.txt                                                                           Google search warrant records                     N/A
STERLINGOV-0001628   STERLINGOV-0001628     txt     R00t.txt.0B_yP6yo_c8e4R0FnQVBjUEpsNTQ.IndexedText.txt                                       Google search warrant records                     N/A
STERLINGOV-0001629   STERLINGOV-0001629     txt     VPN.txt.0B_yP6yo_c8e4ZFVsaE5BeWs0U28.IndexedText.txt                                        Google search warrant records                     N/A
STERLINGOV-0001630   STERLINGOV-0001630     pdf     BTC.docx                                                                                    Google search warrant records                       1      Converted to pdf
STERLINGOV-0001631   STERLINGOV-0001631     txt     gmail(1).txt                                                                                Google search warrant records                     N/A
STERLINGOV-0001632   STERLINGOV-0001632     txt     gmail.txt                                                                                   Google search warrant records                     N/A
STERLINGOV-0001633   STERLINGOV-0001633     txt     R00t.txt                                                                                    Google search warrant records                     N/A
STERLINGOV-0001634   STERLINGOV-0001634    pub      id_rsa.pub                                                                                  Google search warrant records                     N/A
STERLINGOV-0001635   STERLINGOV-0001635    ppk      putty_private.ppk                                                                           Google search warrant records                     N/A
STERLINGOV-0001636   STERLINGOV-0001636     txt     R00t.txt.0B_yP6yo_c8e4R0FnQVBjUEpsNTQ.IndexedText.txt                                       Google search warrant records                     N/A
STERLINGOV-0001637   STERLINGOV-0001637     txt     VPN.txt.0B_yP6yo_c8e4ZFVsaE5BeWs0U28.IndexedText.txt                                        Google search warrant records                     N/A
STERLINGOV-0001638   STERLINGOV-0001638     pdf     BTC.docx                                                                                    Google search warrant records                       1      Converted to pdf
STERLINGOV-0001639   STERLINGOV-0001639     txt     gmail(1).txt                                                                                Google search warrant records                     N/A
STERLINGOV-0001640   STERLINGOV-0001640     txt     gmail.txt                                                                                   Google search warrant records                     N/A
STERLINGOV-0001641   STERLINGOV-0001641     txt     R00t.txt                                                                                    Google search warrant records                     N/A
STERLINGOV-0001642   STERLINGOV-0001642    pub      id_rsa.pub                                                                                  Google search warrant records                     N/A
STERLINGOV-0001643   STERLINGOV-0001643    ppk      putty_private.ppk                                                                           Google search warrant records                     N/A
STERLINGOV-0001644   STERLINGOV-0001644     txt     GasparyanIT@gmail.com.locationhistory.txt                                                   Google search warrant records                     N/A
STERLINGOV-0001645   STERLINGOV-0001645    html     Chats.html                                                                                  Google search warrant records                     N/A
STERLINGOV-0001646   STERLINGOV-0001646     txt     gorski.serafin@gmail.com.locationhistory.txt                                                Google search warrant records                     N/A
                                                                                        Case 1:21-cr-00399-RDM Document 54-2 Filed 08/29/22 Page 10 of 14




BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                           Batch                           Page Count   Notes
STERLINGOV-0001647   STERLINGOV-0001647    html     Chats.html                                                                                   Google search warrant records       N/A
STERLINGOV-0001648   STERLINGOV-0001648    html     Chats.html                                                                                   Google search warrant records       N/A
STERLINGOV-0001649   STERLINGOV-0001649    html     Chats.html                                                                                   Google search warrant records       N/A
STERLINGOV-0001650   STERLINGOV-0001650     txt     heavydist@gmail.com.locationhistory.txt                                                      Google search warrant records       N/A
STERLINGOV-0001651   STERLINGOV-0001651     csv     ALBUM_PHOTO_DATA.csv                                                                         Google search warrant records       N/A
STERLINGOV-0001652   STERLINGOV-0001652     ics     Calendar.andy w.ics                                                                          Google search warrant records       N/A
STERLINGOV-0001653   STERLINGOV-0001653    html     Chats.html                                                                                   Google search warrant records       N/A
STERLINGOV-0001654   STERLINGOV-0001654    html     Chats.html                                                                                   Google search warrant records       N/A
STERLINGOV-0001655   STERLINGOV-0001655    html     Chats.html                                                                                   Google search warrant records       N/A
STERLINGOV-0001656   STERLINGOV-0001656     txt     NEW DOCUMENT-metadata.txt                                                                    Google search warrant records       N/A
STERLINGOV-0001657   STERLINGOV-0001657     txt     Andrew White Resume(1)-metadata.txt                                                          Google search warrant records       N/A
STERLINGOV-0001658   STERLINGOV-0001658     txt     Andrew White Resume.docx-metadata.txt                                                        Google search warrant records       N/A
STERLINGOV-0001659   STERLINGOV-0001659     txt     Andrew White Resume-metadata.txt                                                             Google search warrant records       N/A
STERLINGOV-0001660   STERLINGOV-0001660     txt     Article.docx-metadata.txt                                                                    Google search warrant records       N/A
STERLINGOV-0001661   STERLINGOV-0001661     txt     Aryana Rose Hamilton-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001662   STERLINGOV-0001662     txt     bana_200907[1]-metadata.txt                                                                  Google search warrant records       N/A
STERLINGOV-0001663   STERLINGOV-0001663     txt     BUDHSIM DONE.doc-metadata.txt                                                                Google search warrant records       N/A
STERLINGOV-0001664   STERLINGOV-0001664     txt     business projects-metadata.txt                                                               Google search warrant records       N/A
STERLINGOV-0001665   STERLINGOV-0001665     txt     Copy of Bitcoin 101_ How To Value Bitcoin-metadata.txt                                       Google search warrant records       N/A
STERLINGOV-0001666   STERLINGOV-0001666     txt     credit card form-metadata.txt                                                                Google search warrant records       N/A
STERLINGOV-0001667   STERLINGOV-0001667     txt     Derp Projects-metadata.txt                                                                   Google search warrant records       N/A
STERLINGOV-0001668   STERLINGOV-0001668     txt     Greco-Buddhism-metadata.txt                                                                  Google search warrant records       N/A
STERLINGOV-0001669   STERLINGOV-0001669     txt     Guerilla warfare-metadata.txt                                                                Google search warrant records       N/A
STERLINGOV-0001670   STERLINGOV-0001670     txt     Hack The Self-metadata.txt                                                                   Google search warrant records       N/A
STERLINGOV-0001671   STERLINGOV-0001671     txt     Hack The State_ How Crypto-Anarchy Will Change The World-metadata.txt                        Google search warrant records       N/A
STERLINGOV-0001672   STERLINGOV-0001672     txt     Imported from Google Notebook - My first notebook-metadata.txt                               Google search warrant records       N/A
STERLINGOV-0001673   STERLINGOV-0001673     txt     Letter of Reference(1)-metadata.txt                                                          Google search warrant records       N/A
STERLINGOV-0001674   STERLINGOV-0001674     txt     Letter of Reference-metadata.txt                                                             Google search warrant records       N/A
STERLINGOV-0001675   STERLINGOV-0001675     txt     National Anarchism-metadata.txt                                                              Google search warrant records       N/A
STERLINGOV-0001676   STERLINGOV-0001676     txt     nurul(1)-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001677   STERLINGOV-0001677     txt     nurul-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001678   STERLINGOV-0001678     txt     Organizational Structure-metadata.txt                                                        Google search warrant records       N/A
STERLINGOV-0001679   STERLINGOV-0001679     txt     photo.JPG-metadata.txt                                                                       Google search warrant records       N/A
STERLINGOV-0001680   STERLINGOV-0001680     txt     Revised Press Release.docx-metadata.txt                                                      Google search warrant records       N/A
STERLINGOV-0001681   STERLINGOV-0001681     txt     Ripple Hedge Fund PDF-metadata.txt                                                           Google search warrant records       N/A
STERLINGOV-0001682   STERLINGOV-0001682     txt     Searchography-metadata.txt                                                                   Google search warrant records       N/A
STERLINGOV-0001683   STERLINGOV-0001683     txt     Solstice Greeting-metadata.txt                                                               Google search warrant records       N/A
STERLINGOV-0001684   STERLINGOV-0001684     txt     ta timesheet_andrew white_10_29_2011(1)-metadata.txt                                         Google search warrant records       N/A
STERLINGOV-0001685   STERLINGOV-0001685     txt     ta timesheet_andrew white_10_29_2011-metadata.txt                                            Google search warrant records       N/A
STERLINGOV-0001686   STERLINGOV-0001686     txt     Untitled document(1)-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001687   STERLINGOV-0001687     txt     Untitled document(2)-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001688   STERLINGOV-0001688     txt     Untitled document(3)-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001689   STERLINGOV-0001689     txt     Untitled document(4)-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001690   STERLINGOV-0001690     txt     Untitled document(5)-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001691   STERLINGOV-0001691     txt     Untitled document(6)-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001692   STERLINGOV-0001692     txt     Untitled document(7)-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001693   STERLINGOV-0001693     txt     Untitled document-metadata.txt                                                               Google search warrant records       N/A
STERLINGOV-0001694   STERLINGOV-0001694     txt     Untitled spreadsheet(1)-metadata.txt                                                         Google search warrant records       N/A
STERLINGOV-0001695   STERLINGOV-0001695     txt     Untitled spreadsheet-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001696   STERLINGOV-0001696     txt     Warlords-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001697   STERLINGOV-0001697     txt     White, Andrew.docx(1)-metadata.txt                                                           Google search warrant records       N/A
STERLINGOV-0001698   STERLINGOV-0001698     txt     White, Andrew.docx-metadata.txt                                                              Google search warrant records       N/A
STERLINGOV-0001699   STERLINGOV-0001699     txt     inva7id@gmail.com.locationhistory.txt                                                        Google search warrant records       N/A
STERLINGOV-0001700   STERLINGOV-0001700     csv     ALBUM_PHOTO_DATA.csv                                                                         Google search warrant records       N/A
STERLINGOV-0001701   STERLINGOV-0001701     csv     Drive.PhotosData.csv                                                                         Google search warrant records       N/A
STERLINGOV-0001702   STERLINGOV-0001702     pdf     heavydist@gmail_Android.pdf                                                                  Google search warrant records         1
STERLINGOV-0001703   STERLINGOV-0001703   mbox      inva7id@gmail.com.Gmail.Content (2).mbox                                                     Google search warrant records       N/A
STERLINGOV-0001704   STERLINGOV-0001704   mbox      inva7id@gmail.com.Gmail.Content.mbox                                                         Google search warrant records       N/A
STERLINGOV-0001705   STERLINGOV-0001705     txt     gasparyanit@gmail.com-Browsing.txt                                                           Google search warrant records       N/A
STERLINGOV-0001706   STERLINGOV-0001706     txt     gasparyanit@gmail.com-Search.txt                                                             Google search warrant records       N/A
STERLINGOV-0001707   STERLINGOV-0001707     txt     gorski.serafin@gmail.com-Browsing.txt                                                        Google search warrant records       N/A
STERLINGOV-0001708   STERLINGOV-0001708     txt     gorski.serafin@gmail.com-Search.txt                                                          Google search warrant records       N/A
STERLINGOV-0001709   STERLINGOV-0001709     txt     heavydist@gmail.com-Browsing.txt                                                             Google search warrant records       N/A
STERLINGOV-0001710   STERLINGOV-0001710     txt     heavydist@gmail.com-Search.txt                                                               Google search warrant records       N/A
STERLINGOV-0001711   STERLINGOV-0001711     txt     inva7id@gmail.com-Browsing.txt                                                               Google search warrant records       N/A
STERLINGOV-0001712   STERLINGOV-0001712     txt     inva7id@gmail.com-Search.txt                                                                 Google search warrant records       N/A
STERLINGOV-0001713   STERLINGOV-0001713     txt     Track 4(2).wav.mp3-metadata.txt                                                              Google search warrant records       N/A
STERLINGOV-0001714   STERLINGOV-0001714     pdf     Stay in Set - The Accident - Instrumental Comp.ogg-metadata.txt                              Google search warrant records       N/A      Converted to pdf
STERLINGOV-0001715   STERLINGOV-0001715     pdf     Stay in Set - The Accident - Instrumental Less Comp.ogg-metadata.txt                         Google search warrant records       N/A      Converted to pdf
STERLINGOV-0001716   STERLINGOV-0001716     txt     Stay in Set - The Accident - short.ogg-metadata.txt                                          Google search warrant records       N/A
STERLINGOV-0001717   STERLINGOV-0001717     txt     Stay in Set - The Accident.mp3-metadata.txt                                                  Google search warrant records       N/A
STERLINGOV-0001718   STERLINGOV-0001718     txt     CREAMPIE STUDIOS SHARED-metadata.txt                                                         Google search warrant records       N/A
STERLINGOV-0001719   STERLINGOV-0001719     txt     PriceIllPayConcept-0.1-loop1.mp3-metadata.txt                                                Google search warrant records       N/A
STERLINGOV-0001720   STERLINGOV-0001720     txt     PriceIllPayConcept-0.1-loop2.mp3-metadata.txt                                                Google search warrant records       N/A
STERLINGOV-0001721   STERLINGOV-0001721     txt     PriceIllPayConcept-0.1-loop3.mp3-metadata.txt                                                Google search warrant records       N/A
STERLINGOV-0001722   STERLINGOV-0001722     txt     Produced-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001723   STERLINGOV-0001723     txt     “Dude, that's so deep” - “dude, who are you talking to-metadata.txt                          Google search warrant records       N/A
STERLINGOV-0001724   STERLINGOV-0001724     txt     Addition to the beginning scene (wher...-metadata.txt                                        Google search warrant records       N/A
STERLINGOV-0001725   STERLINGOV-0001725     txt     AI-metadata.txt                                                                              Google search warrant records       N/A
STERLINGOV-0001726   STERLINGOV-0001726     txt     Aktiva bostadsköer-metadata.txt                                                              Google search warrant records       N/A
STERLINGOV-0001727   STERLINGOV-0001727     txt     Amsterdam money checkdown-metadata.txt                                                       Google search warrant records       N/A
STERLINGOV-0001728   STERLINGOV-0001728     txt     Annex-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001729   STERLINGOV-0001729     txt     Asia Tour Behind The Scenes-metadata.txt                                                     Google search warrant records       N/A
STERLINGOV-0001730   STERLINGOV-0001730     txt     Asia Tour Internal-metadata.txt                                                              Google search warrant records       N/A
STERLINGOV-0001731   STERLINGOV-0001731     txt     assembly-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001732   STERLINGOV-0001732     txt     Backup-metadata.txt                                                                          Google search warrant records       N/A
STERLINGOV-0001733   STERLINGOV-0001733     txt     bilar-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001734   STERLINGOV-0001734     txt     bitsshit-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001735   STERLINGOV-0001735     txt     books-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001736   STERLINGOV-0001736     txt     Capo music video-metadata.txt                                                                Google search warrant records       N/A
STERLINGOV-0001737   STERLINGOV-0001737     txt     CHARGEBACKS-metadata.txt                                                                     Google search warrant records       N/A
STERLINGOV-0001738   STERLINGOV-0001738     txt     code_millionflame_Demo Website Specification-metadata.txt                                    Google search warrant records       N/A
STERLINGOV-0001739   STERLINGOV-0001739     txt     code_wingsofdomain Project Specification-metadata.txt                                        Google search warrant records       N/A
STERLINGOV-0001740   STERLINGOV-0001740     txt     code_wingsofdomain Visual Project Specification-metadata.txt                                 Google search warrant records       N/A
STERLINGOV-0001741   STERLINGOV-0001741     txt     codereactor quotes-metadata.txt                                                              Google search warrant records       N/A
STERLINGOV-0001742   STERLINGOV-0001742     txt     Config Framework Project-metadata.txt                                                        Google search warrant records       N/A
STERLINGOV-0001743   STERLINGOV-0001743     txt     Day9-seen-metadata.txt                                                                       Google search warrant records       N/A
STERLINGOV-0001744   STERLINGOV-0001744     txt     Deployment-metadata.txt                                                                      Google search warrant records       N/A
STERLINGOV-0001745   STERLINGOV-0001745     txt     DW fuckup-metadata.txt                                                                       Google search warrant records       N/A
STERLINGOV-0001746   STERLINGOV-0001746     txt     Encryption-metadata.txt                                                                      Google search warrant records       N/A
STERLINGOV-0001747   STERLINGOV-0001747     txt     fina mac och annan pwnage citat-metadata.txt                                                 Google search warrant records       N/A
STERLINGOV-0001748   STERLINGOV-0001748     txt     Food Bro-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001749   STERLINGOV-0001749     txt     gdipp experiments-metadata.txt                                                               Google search warrant records       N/A
STERLINGOV-0001750   STERLINGOV-0001750     txt     Grejer som är efterblivna med Apple-metadata.txt                                             Google search warrant records       N/A
STERLINGOV-0001751   STERLINGOV-0001751     txt     Grejer som ar helt efterblivna med linux-metadata.txt                                        Google search warrant records       N/A
STERLINGOV-0001752   STERLINGOV-0001752     txt     Hemsidan ny struktur.pptx-metadata.txt                                                       Google search warrant records       N/A
STERLINGOV-0001753   STERLINGOV-0001753     txt     hewresveard-metadata.txt                                                                     Google search warrant records       N/A
STERLINGOV-0001754   STERLINGOV-0001754     txt     Hyresvärdar-metadata.txt                                                                     Google search warrant records       N/A
STERLINGOV-0001755   STERLINGOV-0001755     txt     installtips-metadata.txt                                                                     Google search warrant records       N/A
STERLINGOV-0001756   STERLINGOV-0001756     txt     Internal de la raza.-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001757   STERLINGOV-0001757     txt     iphone shti-metadata.txt                                                                     Google search warrant records       N/A
STERLINGOV-0001758   STERLINGOV-0001758     txt     keep the block base going!-metadata.txt                                                      Google search warrant records       N/A
STERLINGOV-0001759   STERLINGOV-0001759     txt     KGB Minecraft-metadata.txt                                                                   Google search warrant records       N/A
STERLINGOV-0001760   STERLINGOV-0001760     txt     KINAFILM Manus -metadata.txt                                                                 Google search warrant records       N/A
STERLINGOV-0001761   STERLINGOV-0001761     txt     LED-metadata.txt                                                                             Google search warrant records       N/A
STERLINGOV-0001762   STERLINGOV-0001762     txt     links spreadshit-metadata.txt                                                                Google search warrant records       N/A
STERLINGOV-0001763   STERLINGOV-0001763     txt     links-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001764   STERLINGOV-0001764     txt     linux bajs-metadata.txt                                                                      Google search warrant records       N/A
STERLINGOV-0001765   STERLINGOV-0001765     txt     lurar-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001766   STERLINGOV-0001766     txt     marilyn-metadata.txt                                                                         Google search warrant records       N/A
STERLINGOV-0001767   STERLINGOV-0001767     txt     Masked, move to real masked-metadata.txt                                                     Google search warrant records       N/A
                                                                                        Case 1:21-cr-00399-RDM Document 54-2 Filed 08/29/22 Page 11 of 14




BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                             Batch                           Page Count   Notes
STERLINGOV-0001768   STERLINGOV-0001768     txt     Mekonomen-metadata.txt                                                                         Google search warrant records       N/A
STERLINGOV-0001769   STERLINGOV-0001769     txt     milkdrop-metadata.txt                                                                          Google search warrant records       N/A
STERLINGOV-0001770   STERLINGOV-0001770     txt     my feeds-metadata.txt                                                                          Google search warrant records       N/A
STERLINGOV-0001771   STERLINGOV-0001771     pdf     OBSOLETE, use local files com.pwned-from-above.bloom-editor.code_departure-plan-metadata.txt   Google search warrant records       N/A      Converted to pdf
STERLINGOV-0001772   STERLINGOV-0001772     txt     online cur-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001773   STERLINGOV-0001773     txt     Pass-metadata.txt                                                                              Google search warrant records       N/A
STERLINGOV-0001774   STERLINGOV-0001774     txt     pokerbot 2read-metadata.txt                                                                    Google search warrant records       N/A
STERLINGOV-0001775   STERLINGOV-0001775     txt     Posters-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001776   STERLINGOV-0001776     txt     Preplanning YetAnotherBitPay-metadata.txt                                                      Google search warrant records       N/A
STERLINGOV-0001777   STERLINGOV-0001777     txt     Razdatka_Uverennost.docx-metadata.txt                                                          Google search warrant records       N/A
STERLINGOV-0001778   STERLINGOV-0001778     txt     Settings-metadata.txt                                                                          Google search warrant records       N/A
STERLINGOV-0001779   STERLINGOV-0001779     txt     Silk Plasters-metadata.txt                                                                     Google search warrant records       N/A
STERLINGOV-0001780   STERLINGOV-0001780     txt     Sketches(1)-metadata.txt                                                                       Google search warrant records       N/A
STERLINGOV-0001781   STERLINGOV-0001781     txt     Sketches-metadata.txt                                                                          Google search warrant records       N/A
STERLINGOV-0001782   STERLINGOV-0001782     txt     some links-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001783   STERLINGOV-0001783     txt     songs-metadata.txt                                                                             Google search warrant records       N/A
STERLINGOV-0001784   STERLINGOV-0001784     txt     STAY IN SET PROD-metadata.txt                                                                  Google search warrant records       N/A
STERLINGOV-0001785   STERLINGOV-0001785     txt     Studio Hardware-metadata.txt                                                                   Google search warrant records       N/A
STERLINGOV-0001786   STERLINGOV-0001786     txt     TA sources-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001787   STERLINGOV-0001787     txt     Tech-metadata.txt                                                                              Google search warrant records       N/A
STERLINGOV-0001788   STERLINGOV-0001788     txt     thor extravaganza-metadata.txt                                                                 Google search warrant records       N/A
STERLINGOV-0001789   STERLINGOV-0001789     txt     tider-metadata.txt                                                                             Google search warrant records       N/A
STERLINGOV-0001790   STERLINGOV-0001790     txt     Tor shit-metadata.txt                                                                          Google search warrant records       N/A
STERLINGOV-0001791   STERLINGOV-0001791     txt     Travel-metadata.txt                                                                            Google search warrant records       N/A
STERLINGOV-0001792   STERLINGOV-0001792     txt     Untitled document-metadata.txt                                                                 Google search warrant records       N/A
STERLINGOV-0001793   STERLINGOV-0001793     txt     videos-metadata.txt                                                                            Google search warrant records       N/A
STERLINGOV-0001794   STERLINGOV-0001794     txt     Violations listan-metadata.txt                                                                 Google search warrant records       N/A
STERLINGOV-0001795   STERLINGOV-0001795     txt     vpn-metadata.txt                                                                               Google search warrant records       N/A
STERLINGOV-0001796   STERLINGOV-0001796     txt     wingsofdomain-development-metadata.txt                                                         Google search warrant records       N/A
STERLINGOV-0001797   STERLINGOV-0001797     txt     Wondercards-metadata.txt                                                                       Google search warrant records       N/A
STERLINGOV-0001798   STERLINGOV-0001798     txt     Zenbook-metadata.txt                                                                           Google search warrant records       N/A
STERLINGOV-0001799   STERLINGOV-0001799     txt     Бабло-metadata.txt                                                                             Google search warrant records       N/A
STERLINGOV-0001800   STERLINGOV-0001800     txt     Ввод денег-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001801   STERLINGOV-0001801     txt     всякое говно и паспорт-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001802   STERLINGOV-0001802     txt     имена осв-metadata.txt                                                                         Google search warrant records       N/A
STERLINGOV-0001803   STERLINGOV-0001803     txt     квн(1)-metadata.txt                                                                            Google search warrant records       N/A
STERLINGOV-0001804   STERLINGOV-0001804     txt     квн-metadata.txt                                                                               Google search warrant records       N/A
STERLINGOV-0001805   STERLINGOV-0001805     txt     купить нах-metadata.txt                                                                        Google search warrant records       N/A
STERLINGOV-0001806   STERLINGOV-0001806     txt     машинамузон-metadata.txt                                                                       Google search warrant records       N/A
STERLINGOV-0001807   STERLINGOV-0001807     txt     Мысли о подходах-metadata.txt                                                                  Google search warrant records       N/A
STERLINGOV-0001808   STERLINGOV-0001808     txt     Прога записей-metadata.txt                                                                     Google search warrant records       N/A
STERLINGOV-0001809   STERLINGOV-0001809     txt     речь капо-metadata.txt                                                                         Google search warrant records       N/A
STERLINGOV-0001810   STERLINGOV-0001810     txt     Сделать в киеве блеать-metadata.txt                                                            Google search warrant records       N/A
STERLINGOV-0001811   STERLINGOV-0001811    mp3      Track 4(2).wav.mp3                                                                             Google search warrant records       N/A
STERLINGOV-0001812   STERLINGOV-0001812    ogg      Stay in Set - The Accident - Instrumental Comp.ogg                                             Google search warrant records       N/A
STERLINGOV-0001813   STERLINGOV-0001813    ogg      Stay in Set - The Accident - Instrumental Less Comp.ogg                                        Google search warrant records       N/A
STERLINGOV-0001814   STERLINGOV-0001814    ogg      Stay in Set - The Accident - short.ogg                                                         Google search warrant records       N/A
STERLINGOV-0001815   STERLINGOV-0001815    mp3      Stay in Set - The Accident.mp3                                                                 Google search warrant records       N/A
STERLINGOV-0001816   STERLINGOV-0001816    mp3      PriceIllPayConcept-0.1-loop2.mp3                                                               Google search warrant records       N/A
STERLINGOV-0001817   STERLINGOV-0001817    mp3      PriceIllPayConcept-0.1-loop3.mp3                                                               Google search warrant records       N/A
STERLINGOV-0001818   STERLINGOV-0001818      _      Addition to the beginning scene (wher.._                                                       Google search warrant records       N/A
STERLINGOV-0001819   STERLINGOV-0001819    pptx     Hemsidan ny struktur.pptx                                                                      Google search warrant records       N/A
STERLINGOV-0001820   STERLINGOV-0001820    xlsx     hewresveard.xlsx                                                                               Google search warrant records       N/A
STERLINGOV-0001821   STERLINGOV-0001821    xlsx     Hyresvärdar.xlsx                                                                               Google search warrant records       N/A
STERLINGOV-0001822   STERLINGOV-0001822    xlsx     links spreadshit.xlsx                                                                          Google search warrant records       N/A
STERLINGOV-0001823   STERLINGOV-0001823     txt     Razdatka_Uverennost.docx.0B215KYhwOyNQR1EwU0N5ODV5Snc.IndexedText.txt                          Google search warrant records       N/A
STERLINGOV-0001824   STERLINGOV-0001825     pdf     “Dude, that's so deep” - “dude, who are you talking to.docx                                    Google search warrant records         2      Converted to pdf
STERLINGOV-0001826   STERLINGOV-0001826     pdf     AI.docx                                                                                        Google search warrant records         1      Converted to pdf
STERLINGOV-0001827   STERLINGOV-0001827     pdf     Aktiva bostadsköer.docx                                                                        Google search warrant records         1      Converted to pdf
STERLINGOV-0001828   STERLINGOV-0001828     pdf     Amsterdam money checkdown.docx                                                                 Google search warrant records         1      Converted to pdf
STERLINGOV-0001829   STERLINGOV-0001829     pdf     Annex.docx                                                                                     Google search warrant records         1      Converted to pdf
STERLINGOV-0001830   STERLINGOV-0001831     pdf     Asia Tour Behind The Scenes.docx                                                               Google search warrant records         2      Converted to pdf
STERLINGOV-0001832   STERLINGOV-0001833     pdf     Asia Tour Internal.docx                                                                        Google search warrant records         2      Converted to pdf
STERLINGOV-0001834   STERLINGOV-0001834     pdf     assembly.docx                                                                                  Google search warrant records         1      Converted to pdf
STERLINGOV-0001835   STERLINGOV-0001839     pdf     Backup.docx                                                                                    Google search warrant records         5      Converted to pdf
STERLINGOV-0001840   STERLINGOV-0001840     pdf     bilar.docx                                                                                     Google search warrant records         1      Converted to pdf
STERLINGOV-0001841   STERLINGOV-0001841     pdf     bitsshit.docx                                                                                  Google search warrant records         1      Converted to pdf
STERLINGOV-0001842   STERLINGOV-0001844     pdf     books.docx                                                                                     Google search warrant records         3      Converted to pdf
STERLINGOV-0001845   STERLINGOV-0001845     pdf     Capo music video.docx                                                                          Google search warrant records         1      Converted to pdf
STERLINGOV-0001846   STERLINGOV-0001847     pdf     CHARGEBACKS.docx                                                                               Google search warrant records         2      Converted to pdf
STERLINGOV-0001848   STERLINGOV-0001851     pdf     code_millionflame_Demo Website Specification.docx                                              Google search warrant records         4      Converted to pdf
STERLINGOV-0001852   STERLINGOV-0001861     pdf     code_wingsofdomain Project Specification.docx                                                  Google search warrant records        10      Converted to pdf
STERLINGOV-0001862   STERLINGOV-0001867     pdf     code_wingsofdomain Visual Project Specification.docx                                           Google search warrant records         6      Converted to pdf
STERLINGOV-0001868   STERLINGOV-0001868     pdf     codereactor quotes.docx                                                                        Google search warrant records         1      Converted to pdf
STERLINGOV-0001869   STERLINGOV-0001869     pdf     Config Framework Project.docx                                                                  Google search warrant records         1      Converted to pdf
STERLINGOV-0001870   STERLINGOV-0001873     pdf     Day9-seen.docx                                                                                 Google search warrant records         4      Converted to pdf
STERLINGOV-0001874   STERLINGOV-0001874     pdf     Deployment.docx                                                                                Google search warrant records         1      Converted to pdf
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STERLINGOV-0002016   STERLINGOV-0002016     pdf     vpn.docx                                                                                    Google search warrant records         1      Converted to pdf
STERLINGOV-0002017   STERLINGOV-0002017     pdf     wingsofdomain-development.docx                                                              Google search warrant records          1     Converted to pdf
STERLINGOV-0002018   STERLINGOV-0002019     pdf     Wondercards.docx                                                                            Google search warrant records          2     Converted to pdf
STERLINGOV-0002020   STERLINGOV-0002022     pdf     Zenbook.docx                                                                                Google search warrant records          3     Converted to pdf
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STERLINGOV-0002046   STERLINGOV-0002046    html     Hack The State_ How Crypto-Anarchy Will Change The World-comment.html                       Google search warrant records       N/A
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STERLINGOV-0002048   STERLINGOV-0002048    xlsx     business projects.xlsx                                                                      Google search warrant records       N/A
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STERLINGOV-0002057   STERLINGOV-0002063     pdf     Andrew White Resume(1).docx                                                                 Google search warrant records         7      Converted to pdf
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STERLINGOV-0002488   STERLINGOV-0002492     pdf     White, Andrew(1).docx                                                                       Google search warrant records         5      Converted to pdf
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STERLINGOV-0002512   STERLINGOV-0002512    xlsm     107.91.100.11_combined__20172404__chunk1.xlsm                                               Ramnode PRTT records                N/A
STERLINGOV-0002513   STERLINGOV-0002513    xlsm     107.91.100.11_combined__20172404__chunk2.xlsm                                               Ramnode PRTT records                N/A
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STERLINGOV-0002550   STERLINGOV-0002550    xlsm     107.191.100.11_combined__20172305__chunk1.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002551   STERLINGOV-0002551    xlsm     107.191.100.11_combined__20172305__chunk2.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002552   STERLINGOV-0002552    xlsm     107.191.100.11_combined__20172305__chunk3.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002553   STERLINGOV-0002553    xlsm     107.191.100.11_combined__20172305__chunk4.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002554   STERLINGOV-0002554    xlsm     107.191.100.11_combined__20172305__chunk5.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002555   STERLINGOV-0002555    xlsm     168.235.96.77_combined__20172305.xlsm                                                       Ramnode PRTT records                N/A
STERLINGOV-0002556   STERLINGOV-0002556    xlsm     185.52.2.155_combined__20172305___chunk1.xlsm                                               Ramnode PRTT records                N/A
STERLINGOV-0002557   STERLINGOV-0002557    xlsm     185.52.2.155_combined__20172305___chunk2.xlsm                                               Ramnode PRTT records                N/A
STERLINGOV-0002558   STERLINGOV-0002558    xlsm     107.191.100.11_combined__20172705__chunk1.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002559   STERLINGOV-0002559    xlsm     107.191.100.11_combined__20172705__chunk2.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002560   STERLINGOV-0002560    xlsm     107.191.100.11_combined__20172705__chunk3.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002561   STERLINGOV-0002561    xlsm     168.235.96.77_combined__20172705.xlsm                                                       Ramnode PRTT records                N/A
STERLINGOV-0002562   STERLINGOV-0002562    xlsm     185.52.2.155_combined__20172705.xlsm                                                        Ramnode PRTT records                N/A
STERLINGOV-0002563   STERLINGOV-0002563    xlsm     107.191.100.11_combined__20171606__chunk1.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002564   STERLINGOV-0002564    xlsm     107.191.100.11_combined__20171606__chunk2.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002565   STERLINGOV-0002565    xlsm     107.191.100.11_combined__20171606__chunk3.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002566   STERLINGOV-0002566    xlsm     107.191.100.11_combined__20171606__chunk4.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002567   STERLINGOV-0002567    xlsm     107.191.100.11_combined__20171606__chunk5.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002568   STERLINGOV-0002568    xlsm     107.191.100.11_combined__20171606__chunk6.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002569   STERLINGOV-0002569    xlsm     107.191.100.11_combined__20171606__chunk7.xlsm                                              Ramnode PRTT records                N/A
STERLINGOV-0002570   STERLINGOV-0002570    xlsm     107.191.100.11_combined__20171606__chunk8.xlsm                                              Ramnode PRTT records                N/A
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BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                            Batch                  Page Count   Notes
STERLINGOV-0002571   STERLINGOV-0002571    xlsm     107.191.100.11_combined__20171606__chunk9.xlsm                                                Ramnode PRTT records       N/A
STERLINGOV-0002572   STERLINGOV-0002572    xlsm     107.191.100.11_combined__20171606__chunk10.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002573   STERLINGOV-0002573    xlsm     107.191.100.11_combined__20171606__chunk11.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002574   STERLINGOV-0002574    xlsm     107.191.100.11_combined__20171606__chunk12.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002575   STERLINGOV-0002575    xlsm     107.191.100.11_combined__20171606__chunk13.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002576   STERLINGOV-0002576    xlsm     107.191.100.11_combined__20171606__chunk14.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002577   STERLINGOV-0002577    xlsm     107.191.100.11_combined__20171606__chunk15.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002578   STERLINGOV-0002578    xlsm     107.191.100.11_combined__20171606__chunk16.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002579   STERLINGOV-0002579    xlsm     107.191.100.11_combined__20171606__chunk17.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002580   STERLINGOV-0002580    xlsm     107.191.100.11_combined__20171606__chunk18.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002581   STERLINGOV-0002581    xlsm     107.191.100.11_combined__20171606__chunk19.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002582   STERLINGOV-0002582    xlsm     107.191.100.11_combined__20171606__chunk20.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002583   STERLINGOV-0002583    xlsm     107.191.100.11_combined__20171606__chunk21.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002584   STERLINGOV-0002584    xlsm     107.191.100.11_combined__20171606__chunk22.xlsm                                               Ramnode PRTT records       N/A
STERLINGOV-0002585   STERLINGOV-0002585    xlsm     168.235.96.77_combined__20171606.xlsm                                                         Ramnode PRTT records       N/A
STERLINGOV-0002586   STERLINGOV-0002586    xlsm     107.91.100.11_combined__20171804__chunk1.xlsm                                                 Ramnode PRTT records       N/A
STERLINGOV-0002587   STERLINGOV-0002587    xlsm     107.91.100.11_combined__20171804__chunk2.xlsm                                                 Ramnode PRTT records       N/A
STERLINGOV-0002588   STERLINGOV-0002588    xlsm     107.91.100.11_combined__20171804__chunk3.xlsm                                                 Ramnode PRTT records       N/A
STERLINGOV-0002589   STERLINGOV-0002589    xlsm     168.235.96.77_combined__20171804.xlsm                                                         Ramnode PRTT records       N/A
STERLINGOV-0002590   STERLINGOV-0002590    xlsm     185.52.2.155_combined__20171804.xlsm                                                          Ramnode PRTT records       N/A
STERLINGOV-0002591   STERLINGOV-0002591     csv     AA24N84GWW46KQ5Y-accounts.csv                                                                 Kraken records             N/A
STERLINGOV-0002592   STERLINGOV-0002592     csv     AA24N84GWW46KQ5Y-accounts-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002593   STERLINGOV-0002593     csv     AA24N84GWW46KQ5Y-cookie-matches.csv                                                           Kraken records             N/A
STERLINGOV-0002594   STERLINGOV-0002594     csv     AA24N84GWW46KQ5Y-ip.csv                                                                       Kraken records             N/A
STERLINGOV-0002595   STERLINGOV-0002595     csv     AA24N84GWW46KQ5Y-ip-matches.csv                                                               Kraken records             N/A
STERLINGOV-0002596   STERLINGOV-0002596     csv     AA24N84GWW46KQ5Y-ledgers.csv                                                                  Kraken records             N/A
STERLINGOV-0002597   STERLINGOV-0002597     csv     AA24N84GWW46KQ5Y-logins.csv                                                                   Kraken records             N/A
STERLINGOV-0002598   STERLINGOV-0002598     csv     AA68N84GQUXTDGMY-accounts.csv                                                                 Kraken records             N/A
STERLINGOV-0002599   STERLINGOV-0002599     csv     AA68N84GQUXTDGMY-accounts-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002600   STERLINGOV-0002600     csv     AA68N84GQUXTDGMY-cookie-matches.csv                                                           Kraken records             N/A
STERLINGOV-0002601   STERLINGOV-0002601     csv     AA68N84GQUXTDGMY-ip.csv                                                                       Kraken records             N/A
STERLINGOV-0002602   STERLINGOV-0002602     csv     AA68N84GQUXTDGMY-ip-matches.csv                                                               Kraken records             N/A
STERLINGOV-0002603   STERLINGOV-0002603     csv     AA68N84GQUXTDGMY-ledgers.csv                                                                  Kraken records             N/A
STERLINGOV-0002604   STERLINGOV-0002604     csv     AA68N84GQUXTDGMY-logins.csv                                                                   Kraken records             N/A
STERLINGOV-0002605   STERLINGOV-0002605    xlsx     Exhibit 1 - 1015.xlsx                                                                         Kraken records             N/A
STERLINGOV-0002606   STERLINGOV-0002606    xlsx     Kraken_Summary_ND (10-25-2019).xlsx                                                           Kraken records             N/A
STERLINGOV-0002607   STERLINGOV-0002607     csv     New Microsoft Excel Worksheet.csv.geoip (ND 10-28-2019).csv                                   Kraken records             N/A
STERLINGOV-0002608   STERLINGOV-0002608     pdf     AA24 N84G WW46 KQ5Y - Account Balance - 1015.pdf                                              Kraken records               1
STERLINGOV-0002609   STERLINGOV-0002612     pdf     AA24 N84G WW46 KQ5Y - Exhibit 2 - 1015.pdf                                                    Kraken records               4
STERLINGOV-0002613   STERLINGOV-0002613     pdf     AA24 N84G WW46 KQ5Y - Tier 4 Application - 1015.pdf                                           Kraken records               1
STERLINGOV-0002614   STERLINGOV-0002614     pdf     AA68 N84G QUXT DGMY - Account Balance - 1015.pdf                                              Kraken records               1
STERLINGOV-0002615   STERLINGOV-0002618     pdf     Account DGMY Holders.pdf                                                                      Kraken records               4
STERLINGOV-0002619   STERLINGOV-0002620     pdf     Data Reports - Category Descriptions.pdf                                                      Kraken records               2
STERLINGOV-0002621   STERLINGOV-0002621     pdf     GJ Subpoena 10102019 - certification 1015.pdf                                                 Kraken records               1
STERLINGOV-0002622   STERLINGOV-0002622    xlsx     GJ2016012030699 EXHIBIT 1.xlsx                                                                Kraken records             N/A
STERLINGOV-0002623   STERLINGOV-0002623     pdf     Signed declaration of custodian of records.pdf                                                Kraken records               1
STERLINGOV-0002624   STERLINGOV-0002624     csv     ._AA05N84GC775IFZQ-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002625   STERLINGOV-0002625     csv     ._AA05N84GC775IFZQ-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002626   STERLINGOV-0002626     csv     ._AA05N84GC775IFZQ-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002627   STERLINGOV-0002627     csv     ._AA05N84GC775IFZQ-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002628   STERLINGOV-0002628     csv     ._AA05N84GC775IFZQ-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002629   STERLINGOV-0002629     csv     ._AA05N84GC775IFZQ-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002630   STERLINGOV-0002630     csv     ._AA05N84GC775IFZQ-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002631   STERLINGOV-0002631     pdf     ._AA05 N84G C775 IFZQ EMAIL.pdf                                                               Kraken records               1
STERLINGOV-0002632   STERLINGOV-0002632     csv     ._AA06N84GHPHG7XRI-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002633   STERLINGOV-0002633     csv     ._AA06N84GHPHG7XRI-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002634   STERLINGOV-0002634     csv     ._AA06N84GHPHG7XRI-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002635   STERLINGOV-0002635     csv     ._AA06N84GHPHG7XRI-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002636   STERLINGOV-0002636     csv     ._AA06N84GHPHG7XRI-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002637   STERLINGOV-0002637     csv     ._AA06N84GHPHG7XRI-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002638   STERLINGOV-0002638     csv     ._AA06N84GHPHG7XRI-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002639   STERLINGOV-0002639     csv     ._AA14N84GME2W3K3I-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002640   STERLINGOV-0002640     csv     ._AA14N84GME2W3K3I-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002641   STERLINGOV-0002641     csv     ._AA14N84GME2W3K3I-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002642   STERLINGOV-0002642     csv     ._AA14N84GME2W3K3I-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002643   STERLINGOV-0002643     csv     ._AA14N84GME2W3K3I-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002644   STERLINGOV-0002644     csv     ._AA14N84GME2W3K3I-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002645   STERLINGOV-0002645     csv     ._AA14N84GME2W3K3I-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002646   STERLINGOV-0002646     pdf     ._AA14 N84G ME2W 3K3I EMAIL.pdf                                                               Kraken records               1
STERLINGOV-0002647   STERLINGOV-0002647     csv     ._AA19N84GWUHINXDY-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002648   STERLINGOV-0002648     csv     ._AA19N84GWUHINXDY-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002649   STERLINGOV-0002649     csv     ._AA19N84GWUHINXDY-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002650   STERLINGOV-0002650     csv     ._AA19N84GWUHINXDY-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002651   STERLINGOV-0002651     csv     ._AA19N84GWUHINXDY-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002652   STERLINGOV-0002652     csv     ._AA19N84GWUHINXDY-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002653   STERLINGOV-0002653     csv     ._AA19N84GWUHINXDY-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002654   STERLINGOV-0002654     csv     ._AA26N84GYTWD6UPY-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002655   STERLINGOV-0002655     csv     ._AA26N84GYTWD6UPY-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002656   STERLINGOV-0002656     csv     ._AA26N84GYTWD6UPY-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002657   STERLINGOV-0002657     csv     ._AA26N84GYTWD6UPY-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002658   STERLINGOV-0002658     csv     ._AA26N84GYTWD6UPY-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002659   STERLINGOV-0002659     csv     ._AA26N84GYTWD6UPY-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002660   STERLINGOV-0002660     csv     ._AA26N84GYTWD6UPY-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002661   STERLINGOV-0002661     csv     ._AA36N84GEFDQKXWY-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002662   STERLINGOV-0002662     csv     ._AA36N84GEFDQKXWY-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002663   STERLINGOV-0002663     csv     ._AA36N84GEFDQKXWY-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002664   STERLINGOV-0002664     csv     ._AA36N84GEFDQKXWY-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002665   STERLINGOV-0002665     csv     ._AA36N84GEFDQKXWY-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002666   STERLINGOV-0002666     csv     ._AA36N84GEFDQKXWY-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002667   STERLINGOV-0002667     csv     ._AA36N84GEFDQKXWY-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002668   STERLINGOV-0002668     pdf     ._AA37 N84G EC5F ANRA EMAIL .pdf                                                              Kraken records               1
STERLINGOV-0002669   STERLINGOV-0002669     csv     ._AA37N84GEC5FANRA-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002670   STERLINGOV-0002670     csv     ._AA37N84GEC5FANRA-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002671   STERLINGOV-0002671     csv     ._AA37N84GEC5FANRA-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002672   STERLINGOV-0002672     csv     ._AA37N84GEC5FANRA-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002673   STERLINGOV-0002673     csv     ._AA37N84GEC5FANRA-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002674   STERLINGOV-0002674     csv     ._AA37N84GEC5FANRA-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002675   STERLINGOV-0002675     csv     ._AA37N84GEC5FANRA-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002676   STERLINGOV-0002676     pdf     ._AA55 N84G UTH7 UA6Q EMAILS1.pdf                                                             Kraken records               1
STERLINGOV-0002677   STERLINGOV-0002677     pdf     ._AA55 N84G UTH7 UA6Q EMAILS2 .pdf                                                            Kraken records               1
STERLINGOV-0002678   STERLINGOV-0002678     pdf     ._AA55 N84G UTH7 UA6Q EMAILS3 .pdf                                                            Kraken records               1
STERLINGOV-0002679   STERLINGOV-0002679     csv     ._AA55N84GUTH7UA6Q-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002680   STERLINGOV-0002680     csv     ._AA55N84GUTH7UA6Q-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002681   STERLINGOV-0002681     csv     ._AA55N84GUTH7UA6Q-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002682   STERLINGOV-0002682     csv     ._AA55N84GUTH7UA6Q-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002683   STERLINGOV-0002683     csv     ._AA55N84GUTH7UA6Q-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002684   STERLINGOV-0002684     csv     ._AA55N84GUTH7UA6Q-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002685   STERLINGOV-0002685     csv     ._AA55N84GUTH7UA6Q-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002686   STERLINGOV-0002686     pdf     ._AA64 N84G AG5W VFPQ EMAILS1 .pdf                                                            Kraken records               1
STERLINGOV-0002687   STERLINGOV-0002687     pdf     ._AA64 N84G AG5W VFPQ EMAILS2 .pdf                                                            Kraken records               1
STERLINGOV-0002688   STERLINGOV-0002688     pdf     ._AA64 N84G AG5W VFPQ EMAILS3 .pdf                                                            Kraken records               1
STERLINGOV-0002689   STERLINGOV-0002689     pdf     ._AA64 N84G AG5W VFPQ EMAILS4 .pdf                                                            Kraken records               1
STERLINGOV-0002690   STERLINGOV-0002690     pdf     ._AA64 N84G AG5W VFPQ EMAILS5 .pdf                                                            Kraken records               1
STERLINGOV-0002691   STERLINGOV-0002691     csv     ._AA64N84GAG5WVFPQ-accounts.csv                                                               Kraken records             N/A
STERLINGOV-0002692   STERLINGOV-0002692     csv     ._AA64N84GAG5WVFPQ-accounts-matches.csv                                                       Kraken records             N/A
STERLINGOV-0002693   STERLINGOV-0002693     csv     ._AA64N84GAG5WVFPQ-cookie-matches.csv                                                         Kraken records             N/A
STERLINGOV-0002694   STERLINGOV-0002694     csv     ._AA64N84GAG5WVFPQ-ip.csv                                                                     Kraken records             N/A
STERLINGOV-0002695   STERLINGOV-0002695     csv     ._AA64N84GAG5WVFPQ-ip-matches.csv                                                             Kraken records             N/A
STERLINGOV-0002696   STERLINGOV-0002696     csv     ._AA64N84GAG5WVFPQ-ledgers.csv                                                                Kraken records             N/A
STERLINGOV-0002697   STERLINGOV-0002697     csv     ._AA64N84GAG5WVFPQ-logins.csv                                                                 Kraken records             N/A
STERLINGOV-0002698   STERLINGOV-0002698     pdf     AA05 N84G C775 IFZQ EMAIL.pdf                                                                 Kraken records               1
                                                                                    Case 1:21-cr-00399-RDM Document 54-2 Filed 08/29/22 Page 14 of 14




BEGINBATES           ENDBATES           Doc. Ext.   Original File Name                                                                       Batch            Page Count   Notes
STERLINGOV-0002699   STERLINGOV-0002699     csv     AA05N84GC775IFZQ-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002700   STERLINGOV-0002700     csv     AA05N84GC775IFZQ-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002701   STERLINGOV-0002701     csv     AA05N84GC775IFZQ-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002702   STERLINGOV-0002702     csv     AA05N84GC775IFZQ-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002703   STERLINGOV-0002703     csv     AA05N84GC775IFZQ-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002704   STERLINGOV-0002704     csv     AA05N84GC775IFZQ-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002705   STERLINGOV-0002705     csv     AA05N84GC775IFZQ-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002706   STERLINGOV-0002708     pdf     AA06 N84G HPHG 7XRI.pdf                                                                  Kraken records         3
STERLINGOV-0002709   STERLINGOV-0002709     csv     AA06N84GHPHG7XRI-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002710   STERLINGOV-0002710     csv     AA06N84GHPHG7XRI-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002711   STERLINGOV-0002711     csv     AA06N84GHPHG7XRI-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002712   STERLINGOV-0002712     csv     AA06N84GHPHG7XRI-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002713   STERLINGOV-0002713     csv     AA06N84GHPHG7XRI-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002714   STERLINGOV-0002714     csv     AA06N84GHPHG7XRI-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002715   STERLINGOV-0002715     csv     AA06N84GHPHG7XRI-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002716   STERLINGOV-0002717     pdf     AA14 N84G ME2W 3K3I EMAIL.pdf                                                            Kraken records         2
STERLINGOV-0002718   STERLINGOV-0002720     pdf     AA14 N84G ME2W 3K3I.pdf                                                                  Kraken records         3
STERLINGOV-0002721   STERLINGOV-0002721     csv     AA14N84GME2W3K3I-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002722   STERLINGOV-0002722     csv     AA14N84GME2W3K3I-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002723   STERLINGOV-0002723     csv     AA14N84GME2W3K3I-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002724   STERLINGOV-0002724     csv     AA14N84GME2W3K3I-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002725   STERLINGOV-0002725     csv     AA14N84GME2W3K3I-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002726   STERLINGOV-0002726     csv     AA14N84GME2W3K3I-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002727   STERLINGOV-0002727     csv     AA14N84GME2W3K3I-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002728   STERLINGOV-0002728     csv     AA19N84GWUHINXDY-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002729   STERLINGOV-0002729     csv     AA19N84GWUHINXDY-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002730   STERLINGOV-0002730     csv     AA19N84GWUHINXDY-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002731   STERLINGOV-0002731     csv     AA19N84GWUHINXDY-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002732   STERLINGOV-0002732     csv     AA19N84GWUHINXDY-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002733   STERLINGOV-0002733     csv     AA19N84GWUHINXDY-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002734   STERLINGOV-0002734     csv     AA19N84GWUHINXDY-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002735   STERLINGOV-0002735     csv     AA26N84GYTWD6UPY-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002736   STERLINGOV-0002736     csv     AA26N84GYTWD6UPY-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002737   STERLINGOV-0002737     csv     AA26N84GYTWD6UPY-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002738   STERLINGOV-0002738     csv     AA26N84GYTWD6UPY-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002739   STERLINGOV-0002739     csv     AA26N84GYTWD6UPY-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002740   STERLINGOV-0002740     csv     AA26N84GYTWD6UPY-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002741   STERLINGOV-0002741     csv     AA26N84GYTWD6UPY-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002742   STERLINGOV-0002742     csv     AA36N84GEFDQKXWY-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002743   STERLINGOV-0002743     csv     AA36N84GEFDQKXWY-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002744   STERLINGOV-0002744     csv     AA36N84GEFDQKXWY-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002745   STERLINGOV-0002745     csv     AA36N84GEFDQKXWY-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002746   STERLINGOV-0002746     csv     AA36N84GEFDQKXWY-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002747   STERLINGOV-0002747     csv     AA36N84GEFDQKXWY-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002748   STERLINGOV-0002748     csv     AA36N84GEFDQKXWY-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002749   STERLINGOV-0002749     pdf     AA37 N84G EC5F ANRA EMAIL .pdf                                                           Kraken records         1
STERLINGOV-0002750   STERLINGOV-0002753     pdf     AA37 N84G EC5F ANRA.pdf                                                                  Kraken records         4
STERLINGOV-0002754   STERLINGOV-0002754     csv     AA37N84GEC5FANRA-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002755   STERLINGOV-0002755     csv     AA37N84GEC5FANRA-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002756   STERLINGOV-0002756     csv     AA37N84GEC5FANRA-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002757   STERLINGOV-0002757     csv     AA37N84GEC5FANRA-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002758   STERLINGOV-0002758     csv     AA37N84GEC5FANRA-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002759   STERLINGOV-0002759     csv     AA37N84GEC5FANRA-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002760   STERLINGOV-0002760     csv     AA37N84GEC5FANRA-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002761   STERLINGOV-0002761     pdf     AA55 N84G UTH7 UA6Q EMAILS1.pdf                                                          Kraken records         1
STERLINGOV-0002762   STERLINGOV-0002762     pdf     AA55 N84G UTH7 UA6Q EMAILS2 .pdf                                                         Kraken records         1
STERLINGOV-0002763   STERLINGOV-0002763     pdf     AA55 N84G UTH7 UA6Q EMAILS3 .pdf                                                         Kraken records         1
STERLINGOV-0002764   STERLINGOV-0002766     pdf     AA55 N84G UTH7 UA6Q.pdf                                                                  Kraken records         3
STERLINGOV-0002767   STERLINGOV-0002767     csv     AA55N84GUTH7UA6Q-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002768   STERLINGOV-0002768     csv     AA55N84GUTH7UA6Q-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002769   STERLINGOV-0002769     csv     AA55N84GUTH7UA6Q-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002770   STERLINGOV-0002770     csv     AA55N84GUTH7UA6Q-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002771   STERLINGOV-0002771     csv     AA55N84GUTH7UA6Q-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002772   STERLINGOV-0002772     csv     AA55N84GUTH7UA6Q-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002773   STERLINGOV-0002773     csv     AA55N84GUTH7UA6Q-logins.csv                                                              Kraken records       N/A
STERLINGOV-0002774   STERLINGOV-0002774     pdf     AA64 N84G AG5W VFPQ EMAILS1 .pdf                                                         Kraken records         1
STERLINGOV-0002775   STERLINGOV-0002775     pdf     AA64 N84G AG5W VFPQ EMAILS2 .pdf                                                         Kraken records         1
STERLINGOV-0002776   STERLINGOV-0002776     pdf     AA64 N84G AG5W VFPQ EMAILS3 .pdf                                                         Kraken records         1
STERLINGOV-0002777   STERLINGOV-0002779     pdf     AA64 N84G AG5W VFPQ EMAILS4 .pdf                                                         Kraken records         3
STERLINGOV-0002780   STERLINGOV-0002780     pdf     AA64 N84G AG5W VFPQ EMAILS5 .pdf                                                         Kraken records         1
STERLINGOV-0002781   STERLINGOV-0002784     pdf     AA64 N84G AG5W VFPQ.pdf                                                                  Kraken records         4
STERLINGOV-0002785   STERLINGOV-0002785     csv     AA64N84GAG5WVFPQ-accounts.csv                                                            Kraken records       N/A
STERLINGOV-0002786   STERLINGOV-0002786     csv     AA64N84GAG5WVFPQ-accounts-matches.csv                                                    Kraken records       N/A
STERLINGOV-0002787   STERLINGOV-0002787     csv     AA64N84GAG5WVFPQ-cookie-matches.csv                                                      Kraken records       N/A
STERLINGOV-0002788   STERLINGOV-0002788     csv     AA64N84GAG5WVFPQ-ip.csv                                                                  Kraken records       N/A
STERLINGOV-0002789   STERLINGOV-0002789     csv     AA64N84GAG5WVFPQ-ip-matches.csv                                                          Kraken records       N/A
STERLINGOV-0002790   STERLINGOV-0002790     csv     AA64N84GAG5WVFPQ-ledgers.csv                                                             Kraken records       N/A
STERLINGOV-0002791   STERLINGOV-0002791     csv     AA64N84GAG5WVFPQ-logins.csv                                                              Kraken records       N/A
